                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


LIA DEVITRI, et al.,

                                  Petitioners/Plaintiffs,
v.                                                               Civil Action No.17-cv-11842-PBS

CHRIS M. CRONEN, et al.,

                                  Respondents/Defendants.



                          AFFIDAVIT OF JEFFREY A. WINTERS, Ph.D.

           I, Jeffrey A. Winters, Ph.D., under oath, depose and say as follows:

     1. I was asked by Nixon Peabody LLP to provide information regarding the current

           conditions in Indonesia as they relate to the persecution of religious minorities. This

           affidavit focuses on changed country conditions from 2008 forward, with an emphasis on

           deteriorating conditions for religious minorities, and in particular my objective opinion of

           the risks Indonesians Christians face because of their religious beliefs were they

           compelled to return to Indonesia.

     2. As described in detail below, my objective conclusion, based on over three decades of

           research and expertise on Indonesia, as well as on the sources cited in this affidavit, is

           that radical Islam has gained significantly in strength in Indonesia since 2008, but that

           especially since 2012 the level of violence and intolerance directed at religious minorities

           has increased at a shocking rate. This deterioration in conditions has a strong and

           negative impact on Indonesia’s non-Islamic citizens, but especially the Christian

           minority. The Islamic movement to impose exclusionary shari’a law has grown stronger

           and more radical, and these groups have consistently engaged in violent behavior against


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           religious minorities. At the end of 2016 and the beginning of 2017, the largest mass

           demonstrations in the country’s history were organized by extremist Islamic groups and

           figures, and were marked by rhetoric inciting hatred against religious minorities –

           especially Christians. The risk of persecution that these deteriorating country conditions

           pose to Indonesian Christians is alarmingly high and increasing. Therefore, it is my

           considered opinion that Indonesian Christians face a dangerously high probability of

           persecution in the form of intimidation, physical harm, and threats to their personal safety

           and well-being. Accordingly, it is my opinion that Christian Indonesians facing

           deportation back to Indonesia face an extremely high probability of persecution on

           account of their religious beliefs, and that their fears are objectively reasonable in light of

           negative and worsening country conditions, and a clear history of organized and systemic

           violence against religious minorities.



Qualifications as an expert witness.

     3. I am a professor at Northwestern University in the Department of Political Science and

           the founder and director of the university’s Equality Development and Globalization

           Studies (EDGS) program. I am also the Chairman of the Board of Trustees of the

           Indonesian Scholarship and Research Support Foundation (ISRSF). My specific areas of

           expertise include comparative and international political economy, labor, and human

           rights in Indonesia. I received my Ph.D. with distinction in Political Science in 1991 from

           Yale University and have published extensively in the area of Southeast Asian political

           economy and comparative politics, including several books in English and Indonesian. In

           1996, Cornell University Press published my first book Power in Motion: Capital

           Mobility and the Indonesian State. In 2002, Cornell also published a book I co-edited

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           entitled Reinventing the World Bank, much of which focuses on Indonesia. My latest

           book on Oligarchy (Cambridge University Press, 2011) has a major section on

           contemporary Indonesia. This book was awarded the prestigious 2012 Luebbert Prize for

           the Best Book in Comparative Politics from the American Political Science Association. I

           have also published three scholarly books in the Indonesian language and numerous other

           academic articles. The condition of minorities and matters of religious conflict are central

           to the study of Indonesian political economy. These are issues all social science

           specialists on Indonesia observe closely in their professional lives and in their scholarly

           research and writings.

     4. As a professor my responsibilities include teaching undergraduate and graduate courses

           relating to my area of specialization. Most recently these have included such course and

           seminar titles as “Comparative Politics,” “Political Economy of Preindustrial Societies,”

           “Southeast Asian Politics,” “Global Inequality,” “Oligarchy and Elites,” and “The

           Politics of Human Rights.”

     5. I have over thirty years of research experience in the region of Southeast Asia, much of

           which was conducted in Indonesia. In academia, government, the business community,

           and in the media globally, I am recognized as an authority and expert on Southeast Asia

           in general and the society, economy, and politics of Indonesia in particular. I have

           previously been called upon to provide an expert opinion on conditions in Southeast Asia,

           including Indonesia, by industry, the U.S. Department of State, Secretary of State

           Madeleine Albright (in private consultation), various Ambassadors to Indonesia, and

           national and international media. In recent years I have served informally as an advisor to

           two Indonesian presidents, as well as to three Indonesian candidates for the presidency

           (particularly for the 2004 and 2009 national elections). In May 2009, I was invited to

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           Camp Smith in Honolulu by Admiral Timothy Keating, Commander of all U.S. Pacific

           forces, to brief him on current economic and political developments in Indonesia, with an

           emphasis on evidence of the breakdown of ethnic and religious tolerance in the country.

           In July 2009, I was invited by the Defense Advanced Research Projects Agency

           (DARPA) to serve as a SME (subject matter expert) to help predict stability in countries

           in the Pacific region, particularly Indonesia. I have testified in immigration courts across

           the United States as an expert witness in asylum and withholding of removal cases

           involving Indonesia’s vulnerable minorities. My qualifications as one of the country’s

           leading experts on Indonesian affairs have never been denied by any U.S. court.

     6. My statements presented in this affidavit rely upon my comprehensive general

           knowledge of the politics and society of Indonesia, my review of political science

           materials, human rights reports, and media reports both in English and Indonesian

           relating to recent events in Indonesia. I make extensive use of annual U.S. State

           Department reports on human rights conditions and religious freedom in Indonesia. These

           documents are a useful resource in assisting analysts to form expert opinions on the risks

           posed to ethnic and religious minorities in Indonesia.

     7.     This affidavit is also based on scores of research visits to Indonesia that I have made

           over the past three decades. During 2004 and 2005 I spent extensive periods in Indonesia

           closely observing political and social developments there. In 2004 I spent six months

           conducting research in Indonesia, during which I flew with all the presidential candidates

           as they campaigned across the archipelago. In April 2005 I was awarded a grant as a

           “Fulbright Senior Specialist” to Indonesia from the J. William Fulbright Program

           administered by the U.S. State Department, and I returned from the grant period in

           August 2005 after spending five weeks lecturing at the University of Indonesia in Jakarta.

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           In April and June, 2006, I interviewed a broad range of leading figures in Indonesia

           including one former president, the head of the largest Muslim organization in the

           country, and a former commander of the armed forces. In October 2007 I held one-on-

           one discussions in Chicago on the topic of current political conditions in the country with

           Dr. Hassan Wirajuda, Indonesia’s then Foreign Minister. During all of 2009 I was based

           in Jakarta at the University of Indonesia on sabbatical leave. In the course of this research

           I conducted intensive interviews with sources across the political and social spectrum.

           During the summer of 2013 I supervised a graduate research team that investigated the

           patterns of rising religious intolerance in Indonesia, particularly the increasingly violent

           and exclusionary actions on the part of conservative Islamists against religious minorities.

           My most recent research visit to Indonesia was in June 2017.

Religious minorities – especially Christians – face persecution in Indonesia.

     8. This affidavit will focus primarily on the dangers posed to Indonesian Christians – a

           despised religious minority facing increasing persecution due to a rising tide of extremist

           Islam across Indonesian society. All non-Muslims are under threat in Indonesia as

           intolerance grows and violence against religious minorities becomes more widespread.

           Christian protestants in general, and evangelical Christians in particular, face heightened

           risks because a core part of their faith and practice is to go out into their communities and

           “spread the Gospel,” which in Indonesia is deemed to be hostile proselytizing that leads

           to religious conversion. Influencing someone to convert from one religion to another is a

           criminal act in Indonesia punishable by up to five years in jail.

     9. Country conditions for religious minorities have deteriorated at an alarming pace in

           Indonesia since 2008, but especially since 2012. The 2007 “U.S. State Department

           Religious

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     10. Freedom Report on Indonesia” (released September 14, 2007) noted that “extremist

           groups used violence and intimidation to force eight small, unlicensed churches and one

           [non-mainstream] Ahmadiyah mosque to close. The militant groups involved were The

           Islamic Defenders Group (FPI), the Anti-Apostate Movement Alliance (AGAP), and the

           Anti-Apostate Division (DAP) of the Indonesian Islamic Ulama Forum. The report also

           described “instances of extremists attacking and attempting to terrorize members of other

           religions in certain provinces during the reporting period.”

     11. The 2007 Report adds that “many perpetrators of past abuse against religious minorities

           were not brought to justice,” even when the perpetrators were “extremist groups that used

           violence and intimidation against religious groups,” nor did the government “use its

           authority to review or revoke local laws [perda] that violated freedom of religion.” The

           2007 U.S. government report states that “The Child Protection Act of 2002 makes

           attempting to convert minors to a religion other than their own through “tricks” and/or

           “lies” a crime punishable by up to 5 years in prison.” This law has been enforced

           exclusively against children converted away from Islam. The State Department wrote that

           “in September 2005 a court sentenced three women from the Christian Church of Camp

           David to 3 years imprisonment under the Child Protection Law for allegedly attempting

           to convert Muslim children to Christianity.” The Supreme Court rejected the women’s

           appeal in 2006, and they served two years of their sentences and were released on parole

           on June 11, 2007. The report also noted that “Article 156 of the criminal code makes

           spreading hatred, heresy, and blasphemy punishable by up to 5 years in prison. Although

           the law applies to all officially recognized religions, it is usually applicable in cases

           involving blasphemy and heresy against Islam.” Indeed, this law has only been enforced



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           against non-Muslims, or against a small minority of Muslims deemed to hold heretical

           beliefs (for example, the Ahmadiyah sect).

     12. The 2008 U.S. State Department Religious Freedom Report on Indonesia (released

           September 18, 2008: http://www.state.gov/g/drl/rls/irf/2008/108407.htm) further

           documented the pattern seen in the 2007 Report of growing intolerance by the Muslim

           majority against religious minorities, as well as the government’s failure to punish violent

           perpetrators. The 2008 report stated:

                    “Several houses of worship, religious schools, and homes of Muslim groups
                   regarded as unorthodox were attacked, vandalized, forced to shut down, or
                   prevented from being established by militant groups and mobs throughout the
                   country. In several cases police temporarily detained members of “deviant
                   groups” who were victims of attacks, ostensibly in order to ensure their safety, but
                   did not arrest attackers.”

     13. The 2008 report noted that violent groups continued their assault on Christian houses of

           worship:

                   “According to confirmed reports, extremist groups used violence and intimidation
                   to close at least 12 churches during the reporting period. Groups also delayed and
                   in some cases blocked petitions for churches to complete renovations. Small
                   churches in West Java were under the most pressure, including in areas of
                   Bandung, Tangerang, and Bekasih.

     14. It added that violent Islamic vigilante groups perpetrated these acts against religious

           minorities: “The FPI, the Anti-Apostate Movement Alliance (AGAP), Anti-Apostate

           Front (BAP), and the Anti-Apostate Division of the FUI backed by some local Muslim

           communities, orchestrated many of the church closings.” The government is supposed to

           prevent these actions and punish the perpetrators. Not only did it not do so, but the 2008

           Report noted that the police actually helped the violent vigilantes: “While often present,

           police rarely acted to prevent forced church closings and in the past had sometimes

           assisted militant groups in the closure.”


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     15. The various Islamic shari’a regulations known as perda violate Constitutional provisions

           intended to uphold religious freedom and should have been blocked. The 2008 Report

           noted that the government failed to take action: “The Government did not use its

           constitutional authority to review or revoke local laws that violated freedom of religion.”

           On the contrary, a top government official dismissed the problem of this widening

           evidence of the shari’a movement in Indonesia as nonexistent. Quoting the 2008 Report:

           “On February 14, 2008, the Minister of Home Affairs claimed shari’a bylaws [perda] did

           not exist and that the so-called shari’a-inspired ordinances were merely public order laws

           passed to deal with social problems such as drinking and prostitution.” The Report makes

           clear, however, that the existence of these perda around the country continued to be a

           threat: “According to the Indonesian Women’s Coalition, local governments throughout

           the country have issued at least 100 such ordinances.”

     16. The 2008 Report documented several specific incidents indicating a consistent pattern of

           religious intolerance in Indonesia against minority Christians:

     •     “On July 20, 2007, thousands of protestors demonstrated at Karmel Valley, a Catholic
           retreat in Cianjur, West Java, forcing the management to cancel an international religious
           gathering scheduled for July 24-29, 2007. Protestors claimed the planned gathering of the
           Holy Trinity group at Karmel Valley was illegal, despite the Holy Trinity group having a
           police permit for the gathering.”
     •     “On September 6, 2007, the Malang District Court sentenced 41 persons to 5 years in
           prison for blasphemy relating to dissemination of a “prayer training” video produced by
           the College Student Service Organization in Batu, East Java. The video, distributed in
           early 2007, allegedly depicted 30 Christians being instructed by their leader to put
           Qur’ans on the floor at a 2006 gathering.”
     •     “On September 12, 2007, worshipers at a house church in Sukatani Permai Housing
           Complex in Tangerang Regency, Banten Province, resumed services after signing an
           agreement with the neighborhood council. Local officials from MUI, FKUB, and the
           Banten Provincial Representative from the Ministry of Religious Affairs witnessed the
           signing, which guaranteed that the church members could practice freely. The agreement
           was issued after approximately 300 local residents stormed and vandalized a house turned

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           into a church during a service and injured a pastor and a congregation member on
           September 2, 2007.”
     •     “On November 18, 2007, dozens of persons from the BAP and the AGAP vandalized the
           Pasundan Christian Church at Dayeuhkolot in Bandung, West Java. Police arrested four
           persons but then released them after interrogations. On December 2, 2007, there was
           another attack on the same church but Bandung Police were at the scene before the
           attackers. No one was arrested because the attackers quickly dispersed after seeing the
           police there.”
     •     “On November 23, 2007, locals and officials prevented members of a Catholic church in
           Tambora, West Jakarta, from holding services in their 40-year-old church. During the
           reporting period, residents objected to plans to enlarge the small church. The church was
           applying for a building permit. On December 1, 2007, the church received assurances
           from the Ministry of Religious Affairs that it could continue to operate despite not having
           a permit.”
     •     “On February 15, 2008, approximately 60 demonstrators from 4 local mosques demanded
           the closure of the Love Evangelical Bethel Church (Gereja Bethel Injil Kasih Karunia) in
           Tangerang Labuai village, Bukit Raya District, Pekanbaru, Riau Province. The protestors
           demanded that the church close because it did not have a permit for the expansion it was
           planning. According to the church pastor, the church did not have an expansion permit,
           but it had registered with the local Office of Religious Affairs in 1984.”

     17. On 10 June 2008, the president signed a draconian decree against the minority

           Ahmadiyya religious group, founded in 1889, in response to demands and violence from

           conservative and armed Islamic forces. About 5,000 members of the hardline group

           United for Islam demonstrated outside the presidential palace the day the ban was signed.

           A report noted that “Ahmadis now face arrest for practicing their beliefs,” and added,

           “Other religious minorities, including Christians and Hindus, are now at greater risk for

           discrimination and persecution” [Source: 1 July 2008. Joseph Grieboski. “Indonesia:

           Crackdown on Minorities.”]. On June 1, 2008, extremists had brutally attacked an

           interfaith rally supporting Ahmadiyah, injuring dozens of people. The 2009 U.S. State

           Department Human Rights Report on Indonesia documented a particularly chilling attack

           on pluralism: “On August 11 [2008], Father Benny Susetyo, secretary of the

           Interreligious Commission of the Indonesian Bishops’ Conference, was severely beaten

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           by unknown persons.” It also stated that “on some occasions police took no action to

           protect persons being attacked by mobs” Extremists had been demonstrating by the

           thousands in Jakarta during the spring and summer of 2008. On April 28 they torched an

           Ahmadiyah mosque in Sukabumi, West Java. An International Crisis Group report

           characterized the decree as a “dangerous capitulation to radical [Islamic] demands that

           are now bound to increase” [Source: 7 July 2008. ICG. “Indonesia: Implications of the

           Ahmadiyah Decree.”].

     18. According to media reports, “On June 14 [2008] the Indonesian government disregarded

           a formal agreement with Protestant leaders by demolishing three churches. The

           agreement called for the churches to suspend their Sunday religious functions in

           exchange for not being torn down. Minority religious communities are finding it more

           and more difficult to exercise their rights. On something as simple as church construction

           and repair, changes in 2006 to a ministerial decree of 1969 regulating the building of

           places of worship has not improved conditions: it is still very difficult to get a permit to

           build churches, so much so that many religious groups have had to practice their faith

           illegally. This in turn has provided Islamic extremists with excuses to carry out violent

           attacks against home churches” [Source: July 1, 2008. “Indonesia: Crackdown on

           Minorities,” by Joseph Grieboski].

     19. Although it is Christians and other religious minorities that face the harshest constraints

           on their religious freedoms in Muslim-dominated Indonesia, members of the Muslim

           community never face sanctions or prosecution for encroaching on the religious freedoms

           or dignity of non-Muslim citizens. On the contrary, it is non-Muslims (and especially

           Christians) who are most frequently targeted by police and the judicial system for

           blaspheming Islam. The 2007 U.S. State Department Human Rights report on Indonesia

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           (released in 2008) notes that in April 2007 police in East Java began arresting 41 people

           accused of disseminating a “prayer training” video that allegedly depicts Christians at a

           December 2006 gathering being told to place Korans on the floor. Church leaders denied

           that Christians were involved in the production or distribution of the video. The accused

           were all given extremely harsh sentences. The U.S. report states that “on September 6

           [2007], the court found all 41 accused guilty of insulting religion and sentenced each to

           five years in prison.”

Conservative Muslims want a Shari’a state.

     20. Going back at least a decade, the facts show a clear pattern of political Islam growing in

           strength in Indonesia and becoming more radical and violent. Since the Bali, Marriott,

           and embassy bombings, evidence is mounting that extremist religious groups are

           operating in the country. Since Independence in 1945, Indonesia has officially been a

           secular-pluralist state. The objective of the fundamentalists is to change this by making

           shari’a the law of the land. For the first time in the country’s history reaching back

           centuries, shari’a law, including public flogging, was introduced in the province of Aceh

           in 2002, establishing a precedent other provinces seek to emulate.

     21. There were several important developments and incidents during 2008 that provide

           strong evidence of the rise of an exclusionary version of Islam that threatens religious

           minorities in Indonesia. On June 17, 2008, for instance, the influence of shari’a law was

           dramatically widened when Indonesia’s Parliament passed a law formalizing the role of

           Islam in the economic and financial sector. This move was further evidence of the

           momentum of conservative Islam in the country. [Source: June 17, 2008. Antara News

           Agency. “House Passes Shari’a Banking Bill into Law”].



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     22. On August 22, 2008, it was reported that hundreds of Christian students at the Arastamar

           Evangelical School of Theology in east Jakarta were forced to live in tents since a mob of

           angry Muslim neighbors stormed their campus in the middle of the night wielding

           bamboo spears and hurling Molotov cocktails. Eighteen Christian students were seriously

           injured. The school with its 1,400 students had been open for two decades. The school’s

           spokesman stated: “We’re living in a country where there are many religions, but the

           government cannot prevent the actions of fundamentalist groups. The government cannot

           protect minorities.” The report noted a “growing concern that Indonesia’s tradition of

           religious tolerance is under threat from Islamic hardliners.” It added that with the

           parliamentary and presidential elections being held during 2009, “the government seems

           unwilling to defend religious minorities, lest it be portrayed as anti-Islamic in what is the

           world’s most populous Muslim-majority country.” Prof. Franz Magnis-Suseno, an

           Indonesian Jesuit priest, commented that the police had failed to prevent attacks on

           minorities and the forced closure of Christian churches by mobs incited by radical

           Muslims. “The state has some responsibility for this growing intolerance, namely by not

           upholding the law,” he said. [Source: August 22, 2008. Jakarta Post. “Attack Forces

           Indonesian Christians Off Campus”].

     23. On September 24, 2008, the media reported on a “simmering religious tension in the

           country though not many would want to admit it.” The article added that in Indonesia

           “there is also the fear of a backlash from the [Muslim] extremists. This is why even the

           police often turn a blind eye to the violence. No one has been prosecuted for attacking

           churches.” [Source: September 24, 2008. Straits Times. “Religious Tension Simmers in

           Indonesia,” by Salim Osman].



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     24. On October 7, 2008, a New York Times article pointed out that under President Susilo

           Bambang Yudhoyono, the increasingly radical Indonesian Council of Ulemas, a powerful

           group of Muslim clerics, was receiving strong backing from the government for its

           Christian-threatening decrees, known as fatwas. “Although the president is considered

           moderate,” the article stated, “he said last year that after the council issues any fatwas,

           ‘the tools of the state can do their duty’” to enforce them. [Source: October 7, 2008. New

           York Times. “Islamic Group Gains Power in Indonesia,” by Peter Gelling. Also October

           13, 2008. Australian Broadcasting Corporation “Fears Radicals Penetrating Leading

           Indonesian Religious Body”].

     25. On October 30, 2008, Indonesia’s Parliament passed new legislation, known as the “Anti-

           Pornography Law [UUP],” which was championed by the fundamentalist Islamic

           movement in the country. The law is actually an enactment of a range of shari’a

           principles. Rocky Gerung, a professor at the University of Indonesia, stated: “It is

           obvious that the legal content of the UUP is aimed at serving the morals of the [Muslim]

           majority. It reflects the symptoms of the ever-creeping shari’a (law).” [Source:

           November 16, 2008. Jakarta Post. “Rocky Gerung on The Politicization of Islam”].

     26. On November 3, 2008, alarmed Christian leaders the Communion of Christian Churches,

           covering five regencies and municipalities and representing 40 church denominations in

           Indonesia’s West Papua province, voiced their opposition to the new “pornography”

           legislation the Speaker of Parliament. The Christian leaders warned that this Islamic

           legislation threatened to “destroy the diversity” of the country, and that they “will

           separate ourselves from the Indonesian state if this law is put into effect nationally.”

           [Source: November 3, 2008. Detik.com. “Papuan Church Leaders Threaten to Quit NKRI

           over Porn Law”].

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     27. On November 5, 2008, the Wall Street Journal ran an editorial stating that with the

           passage of the new “pornography” law, “Indonesia’s multicultural society took another

           hit.” The article stated that the law “represents a political victory for hardline Islamist

           parties such as the Islamic Prosperous Justice Party (PKS).” Article 20 of the new law is

           especially alarming because it not only encourages but makes legal the actions of the

           violent vigilante groups that have attacked churches and enforce their brand of public

           morality. According to the Wall Street Journal, Article 20 states that “anyone, not just the

           police, can take action. This may encourage Islamic vigilante groups.” The editorial adds

           that “Human rights groups fear the new bill is another instance of shari’a law creep.”

           [Source: November 5, 2008. Wall Street Journal Asia. “Naked Islamism”].

     28. The November 17, 2008 international edition of Time magazine also focused on the new

           “pornography” legislation, noting that Indonesia’s “ethnic and religious minorities claim

           its provisions are a first step towards imposing shari’a law.” Theophilus Bela, chairman

           of the Christian Communication Forum, stated: “The law imposes the will of the majority

           that embrace Islam, and is a form of religious discrimination and against the spirit of

           tolerance taught by the country’s founders. It is an effort to divide the country.” Rudolf

           Dethu, a Balinese who has helped organize protests against the law, stated: “There is

           even a possibility that Bali will ask to separate from Indonesia. It’s that serious.” [Source:

           November 17, 2008. Time. “Indonesia’s New Anti-Porn Agenda,” by Jason

           Tedjasukmana].

Surveys show intolerance against religious minorities is increasing among Indonesian

Muslims.

     29. The most convincing evidence available to date that an exclusionary and hostile Islamic

           movement is gaining momentum in Indonesia was presented in five major surveys

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           conducted since 2008. The first survey, involving some 500 Islamic studies teachers

           throughout Java, was released in October 2008 by the Center for Islamic and Society

           Studies (PPIM) at Syarif Hidayatullah State Islamic University in Jakarta. [Source:

           November 26, 2008. Jakarta Post. “Most Islamic Studies Teachers Oppose Pluralism,

           Survey Finds,” by Abdul Khalik]. The survey showed that contrary to the view that Islam

           is permanently moderate in Indonesia, large segments of Indonesia’s majority Islamic

           community were intolerant of and hostile toward minority religions. It also found that

           religious fundamentalism and radicalism were rising among Indonesian Muslims. Jajat

           Burhanudin, the director of PPIM, said that his Center’s research showed that

           “moderation and pluralism are only embraced by the elites. I am afraid that this kind of

           phenomenon has contributed to increasing radicalism and even terrorism in our country.”

           Media reports citing the PPIM survey noted the following key findings:

     30. Most Islamic studies teachers in public and private schools in Java oppose pluralism,

           tending toward radicalism and conservatism. The study shows 62.4 percent of the

           surveyed Islamic teachers, including those from Nahdlatul Ulama and Muhammadiyah—

           the country’s two largest Muslim organizations—reject the notion of having non-Muslim

           leaders.

     •     Some 73.1 percent of the teachers don’t want followers of other religions to build their
           houses of worship in their neighborhoods. Some 85.6 percent of the teachers prohibit
           their students from celebrating big events perceived as Western traditions, while 87
           percent tell their students not to learn about other religions. The majority of the
           respondents also support the adoption of shari’a law in the country to help fight crime.
     •     58.9 percent of the respondents back rajam (stoning) as a punishment for all kinds of
           crimes and 47.5 percent said the punishment for theft should be having one hand cut off,
           while 21.3 percent want the death sentence for those who convert from Islam. Only 3
           percent of the teachers said they felt it was their duty to produce tolerant students.




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     31. The second survey was conducted by the Malindo Institute for Social Research and

           Islamic Development in November 2008. The head of the research was Nurrohman, a

           lecturer at Sunan Gunung Djati State Islamic University (UIN) in Bandung, West Java.

           Respondents were a sample of 100 pesantren (Islamic boarding school) leaders in 5

           regencies in the province of West Java (Cirebon, Indramayu, Majalengka, Kuningan, and

           Ciamis). The pesantren were randomly selected from three types: traditional, semi-

           modern and modern. There are nearly 7,000 such pesantren in West Java alone. Eighty-

           one percent of respondents said they were members of Nahdlatul Ulama, which is widely

           viewed in Indonesia as one of the least extreme elements of the Islamic community.

           [Source: December 9, 2008. Jakarta Post. “NU, Muhammadiyah Have Failed to Promote

           Pluralism at Grassroots,” by Nurrohman].

     32. The November 2008 Malindo survey strongly supports the evidence seen in the earlier

           PPIM survey that Islam in Indonesia is increasingly fundamentalist and hostile to

           minority religions like Christianity, Buddhism, and Hinduism. Media reports presented

           the following key findings from the Malindo survey:

     33. Like Islamic teachers [in the PPIM survey], most pesantren leaders oppose pluralism,

           demonstrate an intolerant attitude and tend to use religion to justify some violent acts. For

           instance, 75 percent of pesantren leaders support the destruction or closing of churches

           built without official permits. Eighty-six percent said that Muslims should reject

           applications to build church in their areas. And 81 percent said that Muslims are not

           allowed to say “Merry Christmas” or to accept invitations to celebrate that holiday

           alongside Christians.

     •     55 percent believe that cutting off the hand of a thief is still a relevant punishment today.
           Jilid (whipping) and rajam (stoning to death) are still appropriate penalties for adulterers,
           according to 75 percent of those surveyed. When asked about the statement, “FPI (Islam
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           Defenders Front) attacks on prostitution and gambling sites should be praised and
           supported,” 56 percent agreed.
     •     89 percent of pesantren leaders support the idea of new shari’a-inspired bylaws [perda]
           to improve the morality of the nation. Fifty-eight percent of respondents agreed with the
           statement, “Muslims should always push for the Jakarta Charter [Islamic State] to be
           included as part of the Indonesian Constitution.” Twenty-seven percent oppose having
           Pancasila, the inclusive official government ideology, as the overarching political ideal
           for Indonesian Muslims. Forty-four percent agreed with the statement, “The death
           penalty for apostasy is still applicable now.”

     34. In commenting on the alarming implications of his survey, Nurrohman wrote: “I agree

           with PPIM director Jajat Burhanudin’s comments on his own survey’s implications that

           NU, as well as Muhammadiyah [Indonesia’s two largest Muslim organizations], have

           failed to promote pluralistic values at the grassroots. There is no need to create a state of

           denial by saying, for instance, that pesantren are not hives of radicalism or by blaming

           the survey methodology. Radicalism—meaning religious understanding justifying the use

           of violence—is still present. We need to understand that religious intolerance in this

           country is no longer a myth. The results of these surveys should stand as a warning.”

     35. The third survey was conducted during the period 2006 to 2008 in Yogyakarta, Central

           Java. The chief researcher was Mohamad Yusuf of the Center for Religious and Cross-

           Cultural Studies (CRCS) Gadjah Mada University and the Department of Empirical

           Religious Studies, the Radboud Universiteit Nijmegen, the Netherlands. The survey

           examined religious tolerance among students in eleven Yogyakarta high schools, divided

           into four types: State schools, Islamic schools, Christian schools, and Nationalist schools.

           [Source: Jakarta Post, December 19, 2008, “Pluralism Missing from Curriculum,” by

           Mohamad Yusuf]. The findings of this survey among Indonesia’s younger generation

           correlated highly with the previous two surveys. According to Mr. Yusuf: “This study

           found a significant correlation between the religious exclusivity as taught in class and

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           students with an exclusive theological perspective. This study has also found that the

           religious education students receive in schools does not provide enough space to create

           inter-religious dialogue among the students.”

     36. The fourth survey was published in 2013 by the Pew Research Center. It found that fully

           seventy-two percent of Indonesians support imposing Shari’a Islamic law on the country.

           Of those supporting making Indonesia an Islamic state, half said that Islamic law should

           apply even to non-Muslims. A shocking 48% supported stoning women to death for

           adultery. As mentioned earlier, fully 20% of Indonesians in the Pew survey want those

           leaving Islam to be put to death for apostasy. [Source: April 30, 2013. “The World’s

           Muslims: Religion, Politics, and Society.” The Pew Research Center.

           <http://www.pewforum.org/2013/04/30/the-worlds-muslims-religion-politics-society-

           beliefs-about-sharia/>].

     37. Another survey was conducted in May 2016 by The Setara Institute for Peace and

           Democracy in Jakarta. It examined the views of 760 high school students in Jakarta and

           Bandung, two of the most cosmopolitan cities in Indonesia, and thus should be among the

           most open and tolerant in the nation. The study found that 69% of the respondents

           “believe that social and political affairs should be regulated by religious values,” while

           only 17% “disagree with the implementation of Sharia law in the country.” A Jakarta

           Globe article on the survey stated, “Setara deputy chairman Bonar Tigor Naipospos said

           the study shows a worrying picture of conservatism and intolerance among teens,

           exacerbated by a lack of open discussions about religion in class or at home and an

           abundance of hate speech and messages online.” Expressing alarm at these religious

           trends in Indonesia, Mr. Naipospos added that “steps must be taken to address the issue

           as soon as possible.” [Source: May 25, 2016. “Survey Reveals Worrying Religious

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           Conservatism Among High School Students in Jakarta.” The Jakarta Globe.

           <http://jakartaglobe.beritasatu.com/featured-2/survey-reveals-worrying-religious-

           conservatism-among-high-school-students/>].

     38. What these surveys demonstrate is that there is a major gap between surface impressions

           of religious tolerance at the elite level in Indonesia and the dangerously intolerant views

           held at the grassroots level in society. Elites in Indonesia are out of touch with everyday

           Indonesians in the provinces, and the view of these elites colors the rosy impressions of

           the international media and observers at the U.S. embassy. In February 2009 I

           interviewed the editor-in-chief of one of Indonesia’s leading newspapers and asked if he

           thought the trends showed a danger of Indonesia becoming a shari’a Islamic state. He

           gave the standard response: that Indonesia had “built-in circuit breakers that would

           prevent a shari’a state.” When I reported this editor’s view one week later to one of

           Indonesia’s leading presidential candidates, who had just held a shocking campaign

           meeting with one-thousand pesantren leaders, he immediately said, “maybe 30 years ago

           that was true, but not any longer.” During his meeting with the pesantren leaders, they

           told the presidential candidate that they would support him only if he supported imposing

           a shari’a state in Indonesia.

     39. There are growing signs that some observers are starting to recognize the dramatic

           decline in religious tolerance in Indonesia. Setiono Sugiharto, chief-editor of the

           Indonesian Journal of English Language Teaching and a lecturer at Atma Jaya Catholic

           University in Jakarta, wrote in an op-ed that “Both radicalism and religious intolerance

           indeed exist and are no longer a myth. In a country which claims to value differences and

           to respect pluralism, hearing the news that extremism is rising is really mind-boggling.”



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           [Source: January 13, 2009. Jakarta Post. “Rising Radicalism, Fundamentalism: To

           Which Zeitgeist Do We Belong?” by Setiono Sugiharto].

     40. An opinion piece in The Jakarta Post by an Indonesian Christian summed up the current

           danger and is worth quoting at length:

                   “These survey results should be ringing alarm bells throughout this country’s
                   minority groups. That the two most influential Islamic organizations in the land
                   failed to instill pluralism at the grassroots level is worrying. I could not help but
                   think, if this has been going on for years, the outlook for minority groups is very
                   bleak indeed. Isn’t it too late to expect a change for the better at this point?
                   Pluralism, in my mind, was here many years ago. As a member of one of the
                   minority groups in this country I cannot help but worry about the future. It seems
                   that harmony among the diverse religions is becoming more evasive every day,
                   with no change in the Islamic community’s outlook in the foreseeable future. The
                   warning sign in the form of the respective research published on Dec. 9, 2008,
                   should not be shrugged off lightly—certainly not by minority groups. There is no
                   such thing as religious tolerance in the country. It exists only in name. We have
                   arrived at a crossroads, baffled as to which direction to choose. All said and done,
                   we are confronted with a dilemma. What can be done about it before one of the
                   national slogan “Unity In Diversity” is reduced to empty words? As one voice of
                   the minority group, change for the better can hardly be expected at this point. It
                   must have taken quite a number of years to implant the present view in the
                   Muslim majority. The same should be expected from a change in the situation if
                   this should occur. In the meantime, do we adopt a wait-and-see attitude for
                   destiny to decide our lot?” [Source: February 8, 2009. Jakarta Post. “Is This
                   Handwriting on the Wall for Minority Groups?” by Claudine Frederik].

     41. A major scholarly study in 2009 shows alarming evidence of growing Islamic

           fundamentalism and intolerance of minorities in Indonesia.

     42. In April 2009 a Jakarta-based research foundation, LibForAll, published a major study

           entitled “The Illusion of an Islamic State: The Expansion of Transnational Islamist

           Movements to Indonesia.” It is the most comprehensive independent scholarly study

           produced to date on the subject of rising Islamic fundamentalism in Indonesia, involving

           more than 30 researchers from a network of Islamic universities and institutes. They


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           conducted extensive field research in 17 provinces and 24 districts throughout Indonesia,

           including in-depth interviews with 591 extremist figures belonging to 58 organizations.

     43. A separate team headed by former Indonesian president Wahid also consulted with top

           Indonesian leaders including government ministers, political party heads, former military

           chiefs of staff, high-ranking Indonesian intelligence officials, central figures in the

           Nahdlatul Ulama and Muhammadiyah, and other key leaders in the fields of religion,

           education, culture, government, business and the mass media. The objective was to assess

           the nature and extent of extremist infiltration in their respective areas of expertise. C.

           Holland Taylor, the head of LibForAll, stated that the new study “demonstrates that the

           rapid spread of fundamentalist Islam in Indonesia is closely linked to the global Wahhabi

           / Muslim Brotherhood movement, and stems from the conjunction of a virulent ideology,

           backed by immense funding, and operating in a systematic manner to infiltrate key

           sectors of Indonesian society.” [Source: April 2, 2009. “LibForAll Foundation Releases

           Expose on the Rise of Radical Islam.” <http://www.libforall.org/media/media-current-

           news.html>].

     44. Reuters reported that the study showed that “Indonesia’s tradition of practising a

           moderate form of Islam is being undermined by extremists whose agenda includes the

           creation of an Islamic state or international caliphate.” Reuters also noted that the study

           found evidence that members of the Prosperous Justice Party (PKS) and the Hizbut

           Tahrir Indonesia (HTI) group, both of which seek to make Indonesia a shari’a state,

           “were ‘infiltrating’ moderate Muslim groups and institutions such as schools to press

           their agenda.” Reuters also reported correctly that “PKS is an Islamist party that could be

           a potential ally or coalition partner for President Susilo Bambang Yudhoyono in this

           year’s elections [2009].” The article quoted former president Wahid as observing:

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           “Opportunistic politicians who work with extremist political parties and groups have

           joined the radicals in driving our nation towards a deep chasm, which threatens

           destruction and national disintegration,” and Wahid added that they are “jeopardising the

           future of our multi-religious and multi-ethnic nation.” [Source: April 2, 2009. Reuters.

           “Radical Islam Targets Indonesia Institutions—Report,” by Olivia Rondonuwu].

     45. Wahid added that extremist Islamists are operating openly and legally to transform

           Indonesia’s traditionally moderate brand of Islam into one that is “aggressive, furious,

           intolerant and full of hate.” According to media reports, Wahid stated that extremists are

           systematically infiltrating Indonesian institutions in order to remake Indonesian society

           “in their own harsh and rigid likeness.” He added, according to media reports, that “the

           Indonesian Council of Religious Scholars [MUI] has largely fallen into the grip of

           radicals and is now dictating to—and in many ways controlling—the country’s

           government.” [Source: April 2, 2009. Australian Associated Press. “Extremists Sending

           Indonesia Toward ‘Deep Chasm’: Wahid,” by Adam Gartrell].

     46. Another indicator of rising religious intolerance is the recent phenomenon of exclusive,

           gated Islamic communities—such as Permata Darussalam, Griya Insani and the Orchid

           Residences—in Depok, a city of 1.4 million people adjacent to Jakarta. The Jakarta Post

           reported that “all developers seek out Muslim buyers exclusively, and ask that if they

           decide to sell or rent out their house, that they only choose other Muslims to sell or rent

           to.” The residents are educated, middle class, and predominantly young couples under 30

           years old. Musdah Mulia, an Indonesian scholar of Islam, commented that Islamic

           residences are exclusive and stifle pluralism. “Such residences are unhealthy,” she said,

           and noted that exclusive Islamic residences emerged with fundamentalism in the post-

           Soeharto era. “We should be concerned about this and not let our country face a threat to

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           pluralism or democracy,” she said. The Jakarta Post followed the next day with an

           editorial emphasizing “the danger of the tendency toward segregation” based on religion-

           exclusive gated communities, adding that “it is hard to understand why the government

           does not take strong action to discourage this trend.” The article closed by asking: “is the

           government aware of the threat of segregation?” [Source: June 26, 2009. Jakarta Post.

           “Depok’s Majority Enjoys Living in Exclusive Islamic Residences”; and June 27, 2009.

           Jakarta Post. “For Muslims Only”].

Hardline Islamists violently attack the minority Ahmadiyah sect.

     47. The trend toward a more radical and exclusionary version of Islam in Indonesia are not

           limited to religions outside Islam. Minority sects within Islam itself have also been

           targeted. On 10 June 2008, President Susilo Bambang Yudhoyono signed a draconian

           decree against the minority Ahmadiyah religious group in response to demands and

           violence from conservative and armed Islamic forces. Founded in 1889, the minority

           community of Ahmadis has existed in Indonesia for almost 125 years. On June 1, 2008,

           Muslim extremists had brutally attacked an interfaith rally supporting Ahmadiyah,

           injuring dozens of people. The 2009 U.S. State Department Report on human rights in

           Indonesia described as “unresponsive” the 1,200 police who were present during the

           attack on the interfaith event, adding that “the police allegedly did little to protect the

           demonstrators.”

     48. Islamic extremists had been demonstrating by the thousands in Jakarta during the spring

           and summer of 2008. On April 28 they torched an Ahmadiyah mosque in Sukabumi,

           Western Java. An International Crisis Group report characterized the decree as a

           “dangerous capitulation to radical [Islamic] demands that are now bound to increase”

           [Source: July 7, 2008. ICG. “Indonesia: Implications of the Ahmadiyah Decree”]. The

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           persecution of the Ahmadiyah minority religion, a branch of Islam considered deviant by

           hardline Muslims in Indonesia, continued in 2010 in West Java, with state security forces

           participating directly in the attacks on religious freedom. The Setara Institute released a

           report critical of the government’s persecution of the minority group. Speaking on behalf

           of Setara, Bonar Tigor Naipospos stated: “It seems that people and the government do not

           realize that the right to worship, as stipulated in the Constitution, comes with the right to

           have a house of worship.” [Source: July 28, 2010. Jakarta Globe. “Tense Standoff in

           West Java after Police Attempt to Close Ahmadiyah Mosque”].

     49. At the end of September 2010, a mob of hundreds of people set fire to a mosque and five

           houses belonging to followers of the Ahmadiyah sect in Ciampea near Bogor. Media

           reported that “Ahmadiyah followers were seen fleeing their village to keep themselves

           from the angry mass.” One worshiper said the attackers “had pelted his house with

           stones, smashing glass windows and home appliances inside.” They also burned his

           minivan. [Source: October 1, 2010. Jakarta Post. “Mosque, Houses of Ahmadiyah

           Followers Burned Down in Bogor.” October 2, 2010. Jakarta Post. “Angry Mass Lays

           Waste to Houses of Ahmadiyah Followers.”]

     50. On February 6, 2011 the attacks against the Ahmadiyah sect escalated to murder. In

           Cikeusik, near the capital of Jakarta, three Ahmadis were attacked by a wild mob of

           hardline Islamic fundamentalists. Dr. Andy Fuller, a research fellow at Freedom Institute

           in Jakarta and a researcher at the University of Melbourne, wrote that the bodies of three

           Ahmadis “were violated in the most base and gruesome manner,” and that “subsequently,

           their corpses were mutilated.” The horrific scene was filmed and circulated on YouTube.

           Dr. Fuller wrote an extensive analysis of the attack, placing the incident within the

           broader context of growing religious intolerance in Indonesia and the government’s

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           failure to confront the threat and provide safety to religious minorities. The police backed

           away from the mob and did not prevent the three men from being murdered as a large

           crowd watched and participated. The attack occurred in broad daylight.

     51. Dr. Fuller wrote: “There is nothing natural, inevitable or accidental about these attacks.

           These are attacks that could have and should have been stopped. The police had

           forewarning of the movement of the attackers” [my emphasis]. The National Commission

           on Human Rights (Komnas HAM) reported that “there was as much as two days warning

           of an impending attack of some 1,000-2,000 people” against the Ahmadis. A pattern of

           attacks had already been established. “Other attacks against Ahmadiyah could have also

           informed the police as to the possible violence of the attack,” Dr. Fuller pointed out.

           “That the police were overwhelmed and impotent in countering the attackers,” he

           continued, “indicates a degree of culpability.” In recent years, the voices of those calling

           for more tolerance “remain too easily lost in the louder din of leaders and officials who

           either promote a rigid orthodoxy or are not able to stand against it.” Dr. Fuller wrote:

                   “Organizations such as The Wahid Institute and The Setara Institute, have, in the
                   yearly reports, found an increase in violations of religious freedom as well as acts
                   of intolerance. These acts of intolerance include demonstrations against the
                   building of churches, efforts to remove Ahmadi communities, attacks on churches
                   and mosques. As a recent report by International Crisis Group has argued,
                   religious intolerance has increased due to governmental inability to prosecute
                   those who violate laws, growth of vigilante groups, an increase in proselytization
                   and a reluctance to prosecute hate speech (Indonesia: “Christianization” and
                   Intolerance, Nov. 24, 2010).”

     52. Rather than standing firm against the offenders, who could be harshly prosecuted under a

           range of laws already on the books, leading figures in the government “are blaming the

           victims for the practicing of a ‘deviant’ interpretation of Islam,” Dr. Fuller argued. “The

           problem is not whether Ahmadiyah is acceptable as a faith,” he wrote, but rather “the

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           shifting tendency in public religious discourses to allow less and less space for tolerance

           of ‘the other,’ or indeed, engagement and acceptance of ‘the other.’” [Source: February

           19, 2011. Jakarta Post. “Freedom of Religion and Islam in Indonesia,” by Andy Fuller.]

     53. This criticism of the Indonesian government’s failure to uphold the law, and thus its

           complicity in the attacks on minorities, was strengthened in February 2011 when, instead

           of apprehending and prosecuting members of two hardline Islamic organizations that had

           participated in the murder (the Islam Defenders Front [FPI] and the Islamic People’s

           Forum [FUI]), Home Affairs Minister Gamawan Fauzi met with both groups in his

           government office “to hear their suggestions on what to do about the Islamic minority

           sect Ahmadiyah.” The minister described the meeting as “warm and friendly.” [Source:

           February 17, 2011. Jakarta Post. “‘Vague Orders’ Don’t Deter Violent Mobs,” by

           Adianto P. Simamora and Bagus BT Saragih.] Days later the Minister of Religious

           Affairs, Suryadharma Ali, said he supported eliminating the Ahmadiyah sect as a religion

           in Indonesia. [Source: February 28, 2011. Jakarta Globe. “Best to Disband Ahmadiyah,

           Religious Minister Says,” by Fitri.]

     54. This unwillingness to protect religious minorities from violent persecution culminated in

           a legal process that failed once again to send a strong signal to extremists acting in the

           name of Islam that their behavior has no place in Indonesia. The Economist asked

           rhetorically, “what sort of sentence do you think a man convicted of killing someone by

           smashing in his skull with a stone might get in Indonesia? Life? Thirty years in prison?

           Twenty? Five? No. Three months.” That was the sentence given on July 28, 2011 to one

           of the men who participated in the anti-Ahmadi killings in Cikeusik. The defendant was

           “part of a frenzied mob of Sunni Muslim chauvinists, about 1,000 strong, that hacked and

           beat to death three members of the minority Ahmadi sect of Islam in February. Eleven

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           others were on trial. None of the guilty received more than six months for their crimes;

           none of them were even accused of murder. The ringleader was convicted of nothing

           more terrible than illegal possession of a machete; he got just over five months.” Calling

           the decisions “a terrible verdict for Indonesia, and for Indonesian justice” and “nothing

           more than a slap on the wrist,” the Economist added that the killings had been widely

           condemned, even by the American government, “which usually leans over backwards to

           be nice towards its new friend and the world’s largest Muslim country.” The Economist

           also quoted Human Rights Watch as stating that the verdict “sends the chilling message

           that attacks on minorities like the Ahmadiyah will be treated lightly by the legal system.

           This is a sad day for justice in Indonesia.” The article concluded that the present

           government has to do “a great deal more to protect vulnerable minorities within its own

           borders.” [Source: July 31, 2011. The Economist. “Religious Persecution In Indonesia:

           Lightly On The Lynch mob.”]

     55. In an editorial on the verdicts, the Wall Street Journal called the trials “a test of the

           country’s commitment to democratic pluralism,” and the “latest sign Jakarta is failing.”

           The editorial noted that despite this extremist Islamic riot being one of the most serious to

           date, “no one has been charged with murder or manslaughter as a result.” The defendants

           “received extremely light sentencing recommendations from prosecutors, and the

           sentences actually imposed by the judges were lighter still.” The editorial placed blame

           on Indonesia’s political leadership, starting with the president, whose government wants

           to “appease Islamists” and “has at best stood idly by. At worst, President Susilo Bambang

           Yudhoyono has exacerbated the problem.” He supported a 2008 decree that sent the

           message to Indonesian society that “some forms of religion deserve fewer freedoms than

           others.” The editorial notes that appeasing violent Islamists who persecute religious

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           minorities is “short-sighted,” adding that “given sufficient quarter, Islamists will threaten

           basic law and order and undermine Indonesia’s democracy.” The verdict is a particularly

           alarming signal because it “comes at a time when other Islamist threats against minority

           religions are on the rise, including at least one riot directed at Christians and increasingly

           frequent attacks on Christian-owned property.” [August 2, 2011. Wall Street Journal

           Online. “Injustice in Indonesia: Failure to Protect Religious Minorities Undermines the

           Country’s Democracy.”]

     56. Late in 2011, the AFP quoted Mr. Hendardi of the Setara Institute for Democracy and

           Peace as saying that “We’re in a state of emergency regarding freedom of religion. Last

           week’s court ruling not only failed to give a deterrent effect to the offenders but will

           encourage the violators to carry out more attacks against minorities” [my emphasis].

           Although President SBY did not comment on the verdicts, a Religious Affairs Ministry

           spokesman, Mr. Zubaidi, reinforced the view that the executive branch supported the

           appeasement of radical Islamists in this and other trials. He told the AFP that the

           sentences were the result of “a fair trial,” and he rejected allegations that the police had

           failed to properly investigate the crimes. [Source: August 2, 2011. AFP. “Muslim Sect

           Braces for Indonesia Ramadan Violence,” by Presi Mandari.]

Hardline Islamic threats against religious minorities have increased dramatically since 2008.

     57. In addition to the Ahmadiyah case, threats and violence from hardline Islamic forces have

           increased sharply since early 2009, and, as in the case of the minority Islamic sect, the

           government has failed to punish the attackers and defend other minorities. The simmering

           problem of Islamic intolerance in the areas immediately surrounding the capital erupted

           in the fall of 2009 when the mayor of Depok in West Java, who is the former president of

           the extremist PKS party, blocked the building of a church. An armed vigilante group, the

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           Muslim Solidarity Forum, had violently attacked the church’s construction workers and

           occupied the construction site in March 2009.

     58. The church sent three letters to the mayor asking him to facilitate a dialogue. They

           wanted the government official, who should be neutral in such matters and uphold the

           law, to enforce the church’s right to proceed based on their legal and valid permits.

           Instead, the mayor revoked the permits in deference to the radical Islamists. The church

           turned to the courts. Taking the matter all the way to the Supreme Court, which found in

           September 2009 that the permits were indeed legal and valid and that the mayor had

           acted arbitrarily to revoke them, the minority Christians have attempted to compel the

           Indonesian government to uphold the law and Constitution. Despite this decision, the

           central government has deferred to the Islamic radicals in the region and the congregation

           remains blocked by violent mobs (and the mayor) from building the church. [Source:

           September 23, 2009. Jakarta Post. “Muslim Group Refuses Verdict,” by Hasyim

           Widhiarto].

     59. There was still further evidence during the second half of 2009 that religious extremists

           were adopting a hardened and more radical posture. In September, the regional legislature

           in the province of Aceh passed a shocking new law instituting the shari’a punishment of

           stoning women adulterers to death. This is the first time since the arrival of Islam in

           Indonesia in the 13th century that this most radical of Islamic legal codes has been

           officially sanctioned and made part of the law. According to media reports, none of the

           members of President Susilo Bambang Yudhoyono’s supposedly moderate Democrat

           Party in Aceh voted against the bill. [Source: September 14, 2009. Associated Press.

           “Indonesia’s Aceh Passes Law on Stoning to Death,” by Fakhrurradzie Gade].



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     60. In August 2010, “Shari’a Police” in Aceh arrested two women for the crime of selling

           cooked rice in the daytime during Ramadan, violating a 2002 shari’a law in Aceh.

           Hardliners claim shari’a laws apply exclusively to Muslims. Although non-Muslim

           Indonesians do not fast during the holiday, the women were grabbed by the shari’a police

           because their rice cakes were available for non-Muslims. In October 2010, the Shari’a

           Court found the women guilty and they were sentenced to be publicly flogged. On a stage

           in front of a crowd of hundreds, one woman was lashed twice with a rattan cane and the

           other three times. Media reported that as the women wept in pain, a shout was heard from

           the crowd, “Add to it. Let her feel it.” A man was also given eight strokes of the cane for

           gambling. Engaging in these brutal practices in the 21st century signals a degree of

           unprecedented Islamic radicalism seeping into Indonesia. [Source: October 2, 2010.

           Jakarta Globe. “Three Lashes for Selling Cooked Rice During Ramadan in Aceh,” by

           Nurdin Hasan.]

     61. The 2010 U.S. State Department Human Rights Report on Indonesia (released April 8,

           2011) stated that there was “societal abuse against religious groups and interference with

           freedom of religion sometimes with the complicity of local officials.” The U.S. State

           Department’s 2010 International Religious Freedom Report on Indonesia (released

           November 17, 2010) noted that the government prosecuted “some individuals responsible

           for religiously tinged violence” and “prevented several vigilante actions.” But it “failed to

           prevent abuse and discrimination against religious groups by other private actors and at

           times failed to punish perpetrators of violence.” Overflowing with evidence of rising

           religious persecution, the Report added:

                   “Some hardline Muslim groups opposed to religious pluralism engaged in violent
                   activity against free religious expression, and various other activities deemed
                   contradictory to their view of Islamic values. Members of minority religious
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                groups continued to experience some official discrimination in the form of
                administrative difficulties, often in the context of civil registration of marriages
                and births, and/or the issuance of identity cards. There were a number of reports
                of societal abuses or discrimination based on religious affiliation, belief, or
                practice. Some hardline Muslim groups used violence and intimidation to close at
                least 28 churches. Some of the churches remained closed. Only a few perpetrators
                of these and past abuses have been prosecuted.”
                th
     62. The alarming deterioration of religious tolerance and pluralism in Indonesia was the

           subject of a media interview with Ulil Abshar Abdalla, coordinator of Indonesia’s Islamic

           Liberal Network and a PhD candidate at Harvard University. A specialist on Islam in

           Indonesia and globally, Abdalla said this about current trends in Indonesia: “I have to

           admit I am very concerned, as right now I am witnessing the rapid growth of hardline

           Islamic thought across the country. A hardline approach is being preached almost

           everywhere, from campuses in towns to the small mosques in remote villages. And if we

           fail to prevent this from developing any further, we will soon face the doom of our

           civilization.” Emphasizing the turn to violence against religious minorities, he added:

           “Thinking your neighbor deserves to be punished for merely having a different opinion

           from you about a religious matter, is the kind of behavior that deserves to be called

           radical. To this day, some groups still use this kind of perspective in their daily lives.”

           [Source: September 23, 2009. Jakarta Post. “These People Ignore the Principles of

           Democracy”].

     63. A series of incidents illustrate the growing pattern of radical and violent mob behavior by

           Islamic fundamentalists. The first occurred in December 2009 in the Bekasi area of West

           Java, twenty-five miles from Jakarta. A thousand Islamic militants wearing white robes

           arrived without warning at 10:45 pm and began throwing rocks at a church in the

           Harapan Indah residential complex. Some of them entered the church complex and set it


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           on fire. [Source: December 18, 2009. Jakarta Post. “Residents Attack Church in Bekasi,”

           by Hasyim Widhiarto].

     64. On January 23, 2010, a second mob of 1,000 Islamic militants burned two churches to the

           ground in the Sibuhuan area of North Sumatra because the attackers claimed there were

           “too many faithful and too many prayers” and that the churches lacked permits. One

           pastor fled for fear of his life. Another pastor told reporters after the violence that the

           churches had permits since 1982, but the militants were angry because they had expanded

           to accommodate additional members of the congregation. The government would not

           grant expansion permits.

     65. According to media reports, “The process to get the permit is almost always hard and the

           Islamic community has boycotted the emergence of new churches. This lack of legal

           permits has become the main source of Muslims violence against Christians.” The Rev.

           Gomar Gultom, executive secretary of the Synod of Christian Churches in Indonesia,

           stated that anti-Christian violence occurs because radical Islamic groups are deeply

           opposed to the construction of Christian places of worship and seek to restrain the public

           practice of other faiths. “In Indonesia, Christianity is legal,” he said, “but often,

           Christians are threatened.” According to Rev. Rickson Nainggolan, “the fire serves to

           scare the Christians and stop their activities.” He added that the police knew of the

           tensions for months but did nothing to secure the situation. Instead of arresting the

           attackers, the local police chief legitimized the mob violence, saying the buildings were

           “not churches, but only ‘places of prayer.’” [Source: January 23, 2010. AsiaNews. “North

           Sumatra, Two Protestant Churches Burnt: ‘Too Many Faithful and Too Many Prayers,’”

           by Mathias Hariyadi].



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     66. The Indonesian government fails to enforce the law against politically powerful Islamic

           hardliners. In April 2010 the international press reported that Christian leaders and other

           religious figures in Indonesia argued that the nation’s religious minorities face a more

           sinister threat from legal Islamic groups than from illegal terrorists. Father Benny

           Susetyo of the Indonesian Bishop’s Conference stated that “Radicalism is a problem for

           many religions in Indonesia. Radicalism is strong within the grass roots among the

           people.” The report noted that it is this radicalism that explains “claims that religious

           intolerance is worsening in Indonesia.” It added that: “A February [2010] report by the

           Jakarta-based Setara Institute for Democracy and Peace documented 200 violations

           against freedom of worship last year [2009]. Many involved the forced closure of

           Christian churches, often by groups like the Islamic Defenders Front and United Islam

           Forum.” The Indonesian government shares blame for the rising violence against

           religious minorities.

     67. According to the same article, “President Dr Susilo Bambang Yudhoyono’s

           administration, too, has largely remained silent as violent mobs close houses of worship

           and church construction sites on grounds that they do not have proper building permits.

           The police have even publicly acknowledged that local officers will not interfere in

           religious-based disputes -- even though many of them involve radical Islamists attacking

           minority groups.” Mr. Syafii Anwar, executive director of the International Centre for

           Islam and Pluralism in Jakarta, said the Yudhoyono administration needs to take a firm

           stand against radical groups, but that the government does not do so because it is worried

           about “being seen as anti-Islamic.” [Source: April 3, 2010. South China Morning Post.

           “Christian Leaders Fear Radicals’ Rise in Indonesia: Islamic Hardliners ‘Stir Up

           Religious Intolerance,’” by Joe Cochrane].

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     68. It was further reported in April 2010 that the Catholic congregation of the Saint Johannes

           Baptista Church in Bogor was prevented by local Islamic residents from conducting

           Easter holiday mass at their church. A government official, Muhammad Rizal, wrote a

           letter to the parish telling them not to conduct mass for the 3,000 members of the

           congregation. The local Muslim community had previously threatened the church in this

           manner during Easter 2008. [Source: April 3, 2010. Jakarta Post. “Catholic Congregation

           Driven Out of Their Church”].

     69. In July 2010, international media sources noted a “surge in anti-Christian violence” in

           one of the most densely populated regions of Indonesia. Tom Allard reported in the

           Sydney Morning Herald that this violence, which is “almost always unpunished,” has

           “exposed alarming new fissures in Indonesian society.” He added that the sharp rise in

           violent attacks by fundamentalist Muslims against religious minorities “has also raised

           concerns about the commitment of the police and the government to the country’s

           founding principle of religious freedom.” [Source: July 24, 2010. Sydney Morning

           Herald. “Islamic Hardliners Target Indonesian Christians,” by Tom Allard]. Much of the

           violence has consisted of “multiple incidents of churches being stoned, burnt, closed or

           torn down.”

     70. One of the main perpetrators of the attacks is the FPI—the Islamic Defenders Front. “The

           forces behind the attacks on Christians,” Allard writes, “are a group of Islamic hardliners

           who use many different names but are widely believed to be led by the Islamic Defenders

           Front (FPI), which has links to criminal syndicates and the military and a long record of

           attacking Christians, liberal Muslims, activists for religious tolerance and others who do

           not share its vision for an Indonesia ruled by shari’a.” The intention of the FPI is to make

           Indonesia a shari’a Islamic state that would be even more intolerant of other religions.

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           Congregants of the Taman Yasmin church in Bogor have a valid permit to build a church,

           but have been violently blocked by Islamic fundamentalists. They now hold church

           services in the street.

     71. The Herald report noted that “The incidents of sectarian strife are concerning, but

           Indonesian advocates for religious tolerance are perhaps more alarmed by the lack of

           action by police or central government. That inaction has raised fears that the violence

           will spiral further out of control as people take matters into their own hands.” Attempts

           by religious minorities to get the government to enforce laws upholding religious

           tolerance and to punish vigilante groups have failed. “We have written to the President,

           we have written to the parliament, we have written to the national police chief, but none

           of them have given us a response,” said Palti Panjaitan, a priest at the HKBP Filadelfia

           church in Bekasi that was shut down by extremists in January 2010.

     72. In September 2010, this failure of the government to protect minorities erupted in

           violence by Islamic radicals against Christians in Bekasi as two reverends of the HKBP

           church were brutally “mobbed and stabbed” in broad daylight, according to media

           reports. The reverend who was stabbed was hospitalized in critical condition. [Source:

           September 12, 2010. Jakarta Post. “Two Reverends of HKBP Church in Bekasi

           Attacked, One Being Stabbed.”]. In February 2011, an Indonesian court handed down a

           shockingly light sentence for the attack, finding the perpetrators guilty of “unpleasant

           conduct.” Human rights groups “accused the state of failing to uphold the law after a

           Bekasi court gave light sentences to 13 Muslim hardliners.” Ismail Hasani, a researcher at

           the Setara Institute, said “the verdict would only encourage the radicalization of

           hardliners.” He added: “Now these people will think of [the defendants] as a hero. What



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           kind of deterrent effect is that?” [Source: February 25, 2011. Jakarta Globe. “Anger at

           FPI Chief’s Light Sentence,” by Ulma Haryanto.]

     73. In February 2011, Islamic intolerance of minority Christians flared into mob violence.

           The Economist reported that at least 1,500 Muslim hardliners “went on the rampage in

           the central Javanese town of Temanggung. This time they were angry about a court

           verdict given to a Catholic man accused of blaspheming Islam. He got the maximum

           sentence, but this apparently was not enough for the protesters, who burned three

           churches to the ground.” They also attacked the court house and nearby police stations.

           The mob demanded a death sentence for the Catholic man. Linking this attack to the

           killing of the three Ahmadiyah followers, the article described the problem as “absence of

           the state when it is needed—the police failed dismally to protect the rights, let alone

           lives, of the Ahmadis.” The state does not provide its most basic intermediary function.

           The problem is that the “government and the police fail to be tough on Indonesia’s

           Islamic extremists for fear of provoking a backlash, thus allowing intolerance and bigotry

           to flourish. One academic outfit, the Wahid Institute, estimates that the 100-plus

           religiously motivated attacks and instances of intolerance last year marked a 50%

           increase over 2009.” [Source: February 19, 2011. The Economist. “Indonesia and Its

           Place in the World: Religious Intolerance at Home Thwarts Ambitions Abroad.”]

     74. The Islamic cleric responsible for inciting the mob of radical Islamists to violently attack

           and burn the churches, police stations, and court was given a light sentence of only one

           year in jail, less time served. The cleric declared to his followers in the courtroom that he

           did nothing wrong, saying, “I’m not here because I’m a thief, I’m here because I’m a

           defender of the [Islamic] religion.” In earlier trials, twenty-three members of the mob

           were given sentences of five months in jail, and one received four months. These light

                                                    36
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           sentences amounted to a slap on the wrist and signaled that the police and courts would

           not deal firmly with Islamic radicals. Indonesian media reported that the United Nations

           has written to the Indonesian government expressing “concern” about the “increasing

           number of reports about violence committed against religious minorities.” [Source: June

           14, 2011. Jakarta Globe. “Indonesian Cleric Gets One-Year Sentence for Church

           Attacks.”]

     75. At the end of 2010, the Indonesian National Police admitted that religious persecution

           was rising to unprecedented levels, telling the media that “social conflicts resulting from

           religious intolerance here will increase.” Regarding the conflicts, the Jakarta Post

           reported that: “Amid the incidents — which have intensified since 2000, according to a

           Center for the Study of Islam and Society survey — many have said that the response of

           the police has been nothing but reactionary.” Syarif Hidayatullah Islamic University

           rector Komaruddin Hidayat, said “The police are representatives of the state and the

           law.” As neutral enforcers of the law, there should be no majorities or minorities for

           them. And yet, he said, the police “have been giving the impression of being on the

           majority’s [Islamic] side.” Muhammad Isnur from the Jakarta Legal Aid Institute said

           that “the police had lacked firmness in handling conflicts and in taking action against

           perpetrators.” “Instead of protecting the minority, they have protected the majority,”

           Isnur said. [Source: December 30, 2010. Jakarta Post. “Police Predict More Religious

           Conflicts,” by Dina Indrasafitri.]

     76. Survey data continue to show rising intolerance among Muslims. Data published in

           September 2010 from the annual update of the Center for the Study of Islam and Society

           (PPIM) survey showed that “religious intolerance among Indonesian Muslims has

           increased in the last 10 years,” and that this indicated “a link with the rise of Islamic

                                                     37
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           fundamentalism in the country.” PPIM executive director Jajat Burhanudin reported that

           non-acceptance levels among Muslims regarding the construction of churches and other

           non-Muslim religious buildings in 2010 was 57.8 percent, which was “the highest ever

           recorded since 2001,” when it was 40.5 percent. Media reports on the survey results said

           that in 2010, “27.6 percent of those surveyed said they did mind if a non-Muslim taught

           their children at school, a 6.2 percent increase compared to 2008 (21.4 percent).”

     77. Mr. Burhanudin stated that PPIM’s survey also tracked how these trends correlate with

           the rise of Islamic extremism. “This means the more intolerant a Muslim is, the more

           likely that person is to support a fundamentalist agenda,” he noted. He argued that the

           government has failed, saying that “extremist ideology was widespread given the lack of

           strict standards and policies on mitigating the negative impacts of fundamentalism since

           the end of the authoritarian New Order regime.” He concluded that Islamic hardliners are

           “trying to make Islam the basis of the state.” [Source: September 29, 2010. Jakarta Post.

           “Intolerance ‘on the Rise’ among Muslims.”]

     78. Evidence showing even mainstream Indonesians increasingly support the rising tide of

           intolerance and religious violence appeared in April 2011 in yet another poll. A survey by

           the Institute for Research on Islam and Peace (LaKIP) of 100 public and private high

           schools in Jakarta, conducted between October 2010 and January 2011, found that 48.9%

           of respondents were willing to be involved in violence related to morality and religion.

           63.8% of male students said they were willing to be involved in shutting down houses of

           worship of non-Islamic faiths. [Source: April 26, 2011. TempoInteraktif. “Half of

           Students Support Radical Actions in the Name of Religion.”]

     79. The U.S. State Department’s Religious Freedom Report on Indonesia (released on 13

           September 2011), referred to a significant gap between laws supporting tolerance on the

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           books, and the government’s unwillingness to enforce the laws in a manner that would

           give religious minorities a sense of comfort and safety. The Report stated that “certain

           laws, policies, and official actions restricted religious freedom, and in some instances the

           government failed to protect persons from discrimination and abuse based on religion.

           The government placed restrictions on non-recognized religious groups and on some

           groups considered ‘deviant.’”

     80. The U.S. religious freedom report added that “the central government did not invoke its

           constitutional authority to review or revoke local laws in some areas that violated

           freedom of religion.” The Report also stated that the Indonesian government had also

           “sometimes failed to prevent abuse and combat discrimination against religious groups

           by nonstate actors, and at times failed to punish perpetrators of violence.” Meanwhile, a

           range of “hardline Muslim groups opposed to religious pluralism engaged in violent

           activity against other religious groups and activities deemed contradictory to their view of

           Islamic values. The central government holds authority over religious matters but made

           no effort in some regions to overturn local laws restricting rights otherwise provided for

           in the constitution.” One leading NGO cited in the Report found that there were more

           than 50 attacks against the minority Ahmadiyya sect during 2010 and more than 75

           attacks against Christians. Intolerant Islamic groups used “violence and intimidation” to

           close churches. The Report also notes that government efforts at prosecution have been

           weak. [Source: www.state.gov/documents/organization/171653.pdf].

     81. Commenting on these trends and especially the rise of violent vigilantism against

           religious minorities in Indonesia, a Jakarta-based security analyst wrote at the end of

           August 2011 that the Indonesian government “has failed to take leadership in building a

           more inclusive society and protecting its minorities. The result is to create a vacuum and

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           set a disturbing example.” He added that “the relative ease with which vigilantes can act

           with impunity sets a dangerous precedent, and greatly detracts from the image Indonesia

           is striving to build of itself as a multi-ethnic, multi-faith country of tolerance.” [Source:

           August 26, 2011. OpenDemocracy. “Indonesia: Pluralism vs Vigilantism,” by Charles

           Reading.]

Country conditions for religious minorities in Indonesia have worsened significantly since

2012.

     82. The dangers posed by Islamic extremists against religious minorities in Indonesia was

           also cited in a January 2012 report by Stratfor, a respected global security firm. It

           predicted that Islamic extremists “will likely continue low-level attacks against soft

           targets, such as Christian churches,” and “incite sectarian violence.” Violent groups like

           Front Pembela Islam (FPI) could “incite riots and contribute members to other jihadist

           groups.” [January 16, 2012. Stratfor Global Intelligence. “Jihadism in 2012: A Persistent,

           Low-Level Threat.”]

     83. Analysis in the Indonesian media suggested that the violence surrounding the Yasmin

           church “reveals that the adversaries of religious tolerance are not just radical religious

           groups, but also local authorities.” It pointed out that “local governments producing

           policies encouraging religious discrimination in their respective jurisdictions base these

           policies on sectarian political interests,” and that “the local police choose to follow

           discriminatory policies rather than enforcing religious freedom, which is enshrined in the

           Constitution.” This chronic problem is facilitated by a national government that refuses to

           defend religious minorities against an angry and violent Islamic majority. Abuses

           permitted by regional governments “are exacerbated by the reluctance of the central

           government to take any measures to stop the acts of intolerance,” despite the fact that

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           “the central government has the authority to step in to ensure all citizens can exercise

           their rights.” [Source: January 18, 2012. Jakarta Post. “How to Worship Without Fear in

           Indonesia.”]

     84. In April 2012, there were fresh attacks against worshipers from the Batak Protestant

           Christian Union (HKBP) Filadelfia in Bekasi when a mob set upon a church service and

           drove the congregants away from their place of worship. In May 2012 the situation

           turned violent again when congregants at the same church were barred from holding a

           Sunday service by 1,000 Public Order Agency (Satpol PP) officers, residents, and

           hardline Islamic groups who blocked roads in the area. The aggressive mob forced

           Christian worshippers to leave their church. Local media reported that members of the

           radical and violent Islam Defenders Front (FPI) beat a man wearing a t-shirt emblazoned

           with the words “Say No to Majority’s Tyranny” because they took it as an insult to

           Muslims.

     85. Police warned congregants to leave immediately “for their lives” but did nothing to stop

           or arrest the Islamic fundamentalists persecuting the Christian minority. “It is a public

           road and the church is the rightful owner of the land. They have no right banning the

           churchgoers from entering their own property,” HKBP Filadelfia lawyer Saor Siagian

           said on Sunday, adding that officers should have protected the worshipers, not the mob.

           The church lamented the assault and intimidation, as well as the absence of law

           enforcement. Communion of Indonesian Churches (PGI) chair Andreas Yewangoe said

           he hoped other church members would not be provoked by the incident and said the

           incident should open the central government’s eyes to the fact that religious conflicts

           across the country were initiated by uncontrolled radical groups. “We should do



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           something about this. Otherwise, the situation may become very uncivilized.” [Source:

           May 7, 2012. Jakarta Post. “Activist Beaten as Christians Barred from Praying.”]

     86. Following this attack, the Jakarta Post wrote that “activists have once again blamed the

           government of President Susilo Bambang Yudhoyono for not doing enough to rein in

           radical groups in the country that have graduated from harassing minority groups with

           impunity to becoming a scourge of free speech.” The report added that Ahmad Suaedy of

           the Wahid Institute “said that the lack of conviction from the President in dealing with

           radical elements in the country had allowed groups like the Islam Defenders Front (FPI)

           to harass minority groups and silence activists who defend minority rights.” Prominent

           Muslim scholar Komaruddin Hidayat, rector of the Syarif Hidayatullah Islamic State

           University, commented that the government is not doing enough to “rein in firebrand

           groups in society.” He added: “This is very dangerous. We’re like living in the jungle

           without law. The government is afraid of groups, especially those with religious

           symbols.” [Source: May 7, 2012. Jakarta Post. “Freedom at Risk from Intolerance.” See

           also: May 8, 2012. Jakarta Post. “Impotent Govt Lets FPI Run Rampant: Top

           Criminologist,” by Dicky Christanto.]

     87. Al Makin, a lecturer at the Sunan Kalijaga State Islamic University and a visiting

           research fellow at the Asia Research Institute of the National University of Singapore,

           argues that although the military regime of Suharto has fallen, “a different kind of

           tyranny has come to be.” The violence and intimidation now comes from Islamic

           hardliners. “Vigilantes and thugs in the garb of Islamic conservatism and radicalism have

           intimidated the public, whereas the government, including the police, did almost nothing

           to stop them,” he observes. “New groups of Islamic vigilantes or thugs... are

           mushrooming in Jakarta. What they want to show us through their street activities is that

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           Islam is identical with fear and threats.” [Source: May 8, 2012. Jakarta Post. “Inaction

           Against Vigilantes, Indonesia in Auto-pilot Mode,” by Al Makin.]

     88. This alarming assessment of rising intolerance for minorities in Indonesia was echoed in

           the 2011 State Department Human Rights Report on Indonesia (released on May 24,

           2012). “Major human rights problems included,” according to the U.S. government,

           “societal abuse against certain minority religious groups, and abridgement of the rights of

           particular religious minorities to freely practice their religion by regional and local

           governments.” The U.S. State Department’s 2011 International Religious Freedom

           Report on Indonesia (released on July 30, 2012) painted a grim picture of rising

           intolerance of religious minorities and a failure of government response. The Report

           chronicled a “deterioration in the protection of the right to religious freedom,” “several

           significant lapses in enforcing protections,” the Indonesian central government’s failure

           “to overturn a number of local regulations or decrees restricting [religious] rights

           provided for in the constitution,” its failure to “prevent attacks and combat discrimination

           against religious groups by non-state actors,” and its failure “to hold the perpetrators of

           [religiously motivated] violence accountable.” [Source:

           http://www.state.gov/documents/organization/192841.pdf at p. 1].

     89. University of Indonesia psychologist Ratih Ibrahim, who studies intolerant attitudes in

           Indonesian society, argues that if current negative trends continue, Indonesia could no

           longer claim to be a nation of “unity in diversity,” the national motto. “We tell the world

           that we respect other religions and cultures,” Dr. Ibrahim said, “but the fact is that some

           groups are more dominant and we are now on the verge of a lawless society in spite of

           the fact that religion now plays a greater role.” [Source: June 06, 2012. Jakarta Post. “RI

           Becomes ‘More Intolerant.’”]

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     90. During the spring and summer of 2012, Indonesia’s media ran numerous front-page

           stories tracking the dangerous rise in intolerance and religious persecution across the

           country. One article in August 2012 cited a survey by the respected Jakarta-based think

           tank, the Centre for Strategic and International Studies, that “affirmed the widely held

           assumption that religious intolerance was on the rise.” The survey showed that “91.5

           percent of a total of 2,220 respondents wanted their neighbors from different faiths to

           obtain approval from the local community before they could build a place of worship.”

           The survey also found that 70 percent of the respondents said they were against allowing

           people of different faiths to build places of worship in their neighborhoods.” This

           intolerance on the part of the Islamic majority made it effectively impossible for any

           minority religions to practice their faith in an organized, communal manner.

     91. The August 2012 article also pointed out that the Ministry of Religion, which is supposed

           to support religious freedom and harmony, in fact was a divisive force that was partly to

           blame for the rising intolerance. The Minister of Religion, who is always a Muslim, has

           made frequent inflammatory comments and has often blamed religious minorities for

           their own persecution. Meanwhile, as budgets subsidizing the Haj Pilgrimage have risen,

           budgets for promoting religious harmony have been cut. The article states, “the ministry’s

           spokesman, Zainuddin Daulay, said the lack of funding for interfaith programs was to

           blame for worsening religious tolerance in the country.” [Source: August 3, 2012.

           Jakarta Post. “Ministry Overseeing ‘Worsening’ of Religious Life”].

2013 Human Rights Watch report states religious minorities in Indonesia are vulnerable to

violence and attacks.

     92. The highly respected body, Human Rights Watch, issued a report on February 28, 2013

           entitled “In Religion’s Name: Abuses Against Religious Minorities in Indonesia.” The

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           report condemned the Indonesian government for its “complicit” approach to religious

           conflict, which it notes continues to escalate. It argued that failures in government

           leadership and law enforcement were fueling a surge of religious violence and have

           rendered religious minorities vulnerable to attack. The key findings of the report are:

           There is a growing trend of intolerance and violence. “While the [February 2011]
           Cikeusik attack was particularly gruesome, it is part of a growing trend of religious
           intolerance and violence in Indonesia.” (p. 1)

           Greater freedom after 1998 opened the door for violent Islamic militants and more
           attacks should be expected. “Since President Suharto was forced to step down in 1998,
           after more than three decades in power, inaugurating an era of greater freedom in
           Indonesia, viewpoints long repressed have emerged into the open. A strong thread of
           religious militancy is among them. As detailed in this report, the government has not
           responded decisively when that intolerance is expressed through acts of harassment,
           intimidation, and violence, which often affect freedom of expression and association,
           creating a climate in which more such attacks can be expected.” (p. 2)

           Government officials and police have given tacit and even open support to attackers. “In
           addition to intimidation and physical assaults, houses of worship have been closed,
           construction of new worship facilities halted, and adherents of minority faiths subjected
           to arbitrary arrest on blasphemy and other charges. In most cases, the perpetrators of the
           intimidation and violence have been Sunni militant groups − described throughout this
           report as Islamist groups − at times acting with the tacit, or occasionally open, support of
           government officials and police.” (p. 2)

           Indonesia’s legal system does not protect religious freedom. “The harassment and
           violence directed at minority religious groups is facilitated by a legal architecture in
           Indonesia that purports to maintain “religious harmony,” but in practice undermines
           religious freedom.” (p. 3)

           Government legislation has made religious minorities extremely vulnerable to attack.
           “The Indonesian government has long enacted, and in recent years strengthened,
           legislation and regulations that have subjected minority religions to official
           discrimination and made them extremely vulnerable to the members of the majority
           community who take the law into their own hands.” (p. 3)

     93. The HRW report documents hundreds of attacks carried out by Muslim extremists against

           religious minorities such as the Ahmadis, Shia, Christians and Bahai. Citing Setara, a
                                                  45
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           local organization monitoring religious freedom in Indonesia, the report mentioned 264

           documented cases of violent attacks against religious minorities in 2012. This was an

           increase from the 244 cases Setara documented in 2011, and 216 cases in 2010. [Source:

           February 28, 2013. “In Religion’s Name: Abuses against Religious Minorities in

           Indonesia.” A Report by Human Rights Watch. New York.]

     94. Regarding the increasingly violent nature of religious intolerance in Indonesia, Phelim

           Kine, the deputy director of Human Rights Watch Asia, stated: “Compounding the

           problem of this violence, intimidation and harassment by these mobs of vigilante-style

           thugs is a complete failure by the government of Indonesia to confront this violence and

           intimidation and to put a stop to it.” The government is supposed to uphold tolerance and

           defend vulnerable minorities from a rising tide of religious fanaticism. But Human Rights

           Watch pointed out that the government has actually stood by or even been complicit in

           the attacks. “In several notorious incidents,” Kine said, “police and government officials

           have been passively, if not actively, complicit in acts of religious related intolerance and

           violence.” Warning that the dangers and risks were getting worse rather than better, Kine

           added: “This problem is like a form of toxic osmosis, it can and will spread and become a

           much more serious problem that will be much more difficult to contain in two years or

           five years.”

     95. The Human Rights Watch report documented dozens of religiously-fueled attacks

           between August 2011 and December 2012 in 10 provinces. Agreeing with the report, Eva

           Kusuma Sundari, a member of the Indonesian House of Representatives, said that the

           Indonesian government under Susilo Bambang Yudhoyono only issues public

           condemnations of violence against religious minorities, but that this is not enough. She

           said the president and his ministers were “complacent” with regard to religious

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           discrimination. “Among these people they don’t show a very big political commitment,

           only statements, statements,” she said. “There is no real action in place.” She added that

           the reason Muslim politicians did not take action is that they “did not want to risk losing

           votes by being seen as anti-Islamic.”

     96. Reporting on the study, the Jakarta Globe noted that it “documents the recent rise in

           religious conflict, with interviews from 71 victims of religious violence. It also cites

           statistics from the Setara Institute, an Indonesia-based research and advocacy group, that

           found 216 cases of violent attacks on religious minorities in 2010, 244 cases in 2011 and

           264 cases in 2012.” The paper added that the violence religious minorities endured in

           Indonesia includes intimidation, destruction of property, arson attacks and extreme

           physical harm. Kine said the source of this intolerance and violence stems primarily from

           militant Islamists. [Source: March 1, 2013. Jakarta Globe. “Human Rights Watch Urges

           Indonesia to Tackle Religious Violence.” By Rebecca Lake].

     97. An editorial in the Jakarta Globe confirmed that the threats and dangers faced by

           religious minorities in Indonesia are real. “Dealing with the problem must start with

           recognition that it does pose a grave threat to social security,” the editors wrote. “The

           urgency in dealing with this issue cannot be stressed enough. If left unattended, it will

           destroy our society and impact our economy.” [Source: March 1, 2013. Jakarta Globe.

           “Indonesia Should Have Zero Tolerance for Religious Violence.” Editorial].

     98. There were further signs in April of 2013 that the government was moving in the

           direction of less religious tolerance. The Indonesian Parliament put forward a draft bill of

           the Criminal Code that Mr. Rumadi from the Wahid Institute criticized as dealing a

           serious blow to tolerance. “The draft expands the current blasphemy provision from one

           article into eight articles.” Instead of improving religious protection, he said, the bill

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           “focuses on how to criminalize those who are thought to be involved in blasphemy.”

           Blasphemy under the current Code carries a maximum sentence of five years in prison

           and is implemented almost exclusively in defense of Islam. The bill advancing through

           Parliament broadens the definition of blasphemy and increases the maximum penalty to

           seven years. [Source: April 12, 2013. Jakarta Post. “Criminal Code Revision Deemed A

           Threat to Personal Liberties.”]

     99. There is a growing intersection between the agenda of radical Islamists and policies put

           forward by more mainstream politicians. German analyst Christina Schot quotes the

           research of Indonesian Islam scholar Siti Musdah Mulia, who warns of a risk of

           “Talibanisation” of Indonesia because of the growing political strength of groups like the

           radical Islamic Defenders Front (FPI). Mulia notes that the FPI is widely believed to be

           the richest non-governmental organization in the country. Schot writes, “With its income,

           derived mostly from extorted protection money, the FPI's violence-prone followers

           frequently support local and regional politicians who return the favour by promoting a

           corresponding political agenda. And the FPI also often works with the police and military

           apparatus.”

     100.          According to Andreas Harsono, an Indonesia specialist at Human Rights Watch

           and a distinguished human rights activist who was founded the Alliance of Independent

           Journalists (AJI), the frequency of attacks against religious minorities in the name of

           Islam is rising at an exponential rate. “Statistically speaking, a violent, religiously

           motivated assault happens every other day in Indonesia,” Harsono states. He adds:

           “Religious violence is taking on a new quality here, as it has increasingly been condoned

           by the government in recent years, or even conducted with the help of State institutions.”

           [Source: May 28, 2013. Qantara. “Democracy and Human Rights in Indonesia: A

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           Blocked Constitutional State,” by Christina Schot. Qantara.de]. An editorial in one of

           Indonesia’s leading newspapers stated: “Local leaders now take [their] cue from the

           inaction and silence of law enforcers that stand-by while mosques, churches and minority

           faith community buildings are sealed, destroyed or burnt.” [Source: May 29, 2013.

           Jakarta Post. Editorial: “For the Sake of an Award.”]

Indonesian government actively supports violent religious extremists.

     101.          The Indonesian government has issued some statements suggesting that it does

           not condone vigilante attacks and violence by organizations like the Islamic Defenders

           Front (FPI). But evidence from analysts on the ground in Indonesia strongly indicates the

           opposite. “The FPI remains untouched and not likely to be dissolved any time soon,” the

           Straits Times of Singapore reported in the fall of 2013, adding that the organization

           “operates almost with impunity.” It is not a rogue organization that operates at the fringes

           of Indonesian society. “As part of the Muslim constituency, the FPI is included in the

           network of the Indonesian Ulama Council (MUI), the highest authority on Islam. The

           latter pursues an agenda that includes... curbing the influence of pluralism.” There is now

           evidence that the Indonesian state does not merely permit the murderous FPI to attack

           religious minorities. They are actively supported by officials in charge of Indonesia’s

           police, who are supposed to be enforcing the law and protecting Christians, Buddhists,

           and minority Muslims. According to the Straits Times investigation: “A WikiLeaks

           report based on leaked US diplomatic cables in September 2011 revealed that FPI leaders

           were close to top police officials, who even provided them with funds for their activities.”

     102.          This helps explains the closeness of top government officials to this armed and

           violent group. At the FPI’s 15th anniversary celebration in October 2013, Religious

           Affairs Minister Suryadharma Ali and Social Affairs Minister Salim Segaf Al Jufri (both

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           from explicitly Islamic parties) praised the extremist and violent Islamic organization,

           whose weapons of choice in their attacks are machetes and spears. The religion minister

           actually delivered the keynote address at the gathering. [Source: September 14, 2013.

           Straits Times (Singapore). “When Tolerance Breeds Violence,” by Salim Osman.]

           According to CNN, “The audience, a who’s who of the country’s most intolerant Islamist

           politicians and clerics, listened politely before turning to the meeting’s real focus: the

           FPI’s pursuit of a nation ruled by Islamic law instead of the country’s secular

           constitution.” The CNN analyst added: “The group’s harassment of religious minorities

           infringes on the right to freedom of religion.” [September 3, 2013. CNN Blog.

           “Indonesia’s Rising Intolerance,” by Phelim Kine, Human Rights Watch Asia.]

     103.          As the top government official on matters of religion, the Religious Affairs

           Minister sets the tone for the government and the nation. His stance sends signals that

           ripple throughout the country. A Jakarta Globe editorial in January 2014 noted that

           “despite blatant examples of religious violence across the archipelago,” Religious Affairs

           Minister Suryadharma Ali continued to state publicly that he saw no problems with

           relations between different religious groups in Indonesia. This confirms the widely held

           view that “the government will not do anything to address complaints of intolerance.”

           The editorial continued: “We know attacks on Ahmadis, Shiites and other minority

           groups will continue. We know the closure of churches will go on. We realize we will see

           more groups claiming to represent the truth and the majority, who will take the law into

           their own hands. We’ve seen it before and we’ll likely see it again. The government’s

           negligence toward the plight of the country’s minorities is a direct violation of Pancasila

           [the pluralist state ideology] and the Constitution.” [Source: January 10, 2014. Jakarta

           Globe. Editorial: “It’s Time for Moderate Muslims to Speak Up.”]

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Recent U.S. government reports show rising intolerance and government unwillingness to

defend minorities.

     104.          The 2013 U.S. State Department reports on human rights and religious freedom

           paint an alarming picture of rising intolerance in Indonesia, and an unwillingness or

           inability of the government based in Jakarta to enforce the laws on the books. The human

           rights report states that “local authorities in the city of Bogor continued to disregard a

           2010 Supreme Court decision related to a construction permit for GKI Yasmin Church. In

           September [2012] local authorities again denied the congregation’s request to begin

           construction.”

     105.          The government of President Yudhoyono shows no indication that it will deploy

           security forces to uphold the high court’s ruling. The human rights report also cited the

           increased use of Indonesia’s religion laws to attack religious minorities. The report states:

           “Under the Blasphemy Law, ‘spreading religious hatred, heresy, and blasphemy’ is

           punishable by up to five years in prison. On July 12, the Sampang District Court

           sentenced Shia cleric Tajul Muluk to two years in prison for blasphemy following the

           issuance of a fatwa by a local Islamic clerical council that called his teaching deviant. On

           September 21, the court extended the sentence to four years.” [Source: June, 2013.

           United States Department of State. Bureau of Democracy, Human Rights, and Labor.

           “2012 Human Rights Report: Indonesia.” 2012 Country Reports on Human Rights

           Practices.]

     106.          The 2013 U.S. government human rights report found that conditions have not

           improved for the Ahmadiyya Islamic sect, which has up to half a million followers in

           Indonesia. According to the report: “Members of the Ahmadiyya religious group have not



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           held any national conferences since 2008, when the Bali police refused to issue them a

           permit. In addition, some local governments continued to restrict their right of assembly.”

     107.           The 2013 report also highlighted government discrimination against non-Muslims

           and a radical influence imposing new Islamic restrictions on civil servants and officials.

           The report states: “In some parts of the country, non-Muslims effectively were blocked

           from political office by a requirement that all candidates must demonstrate their ability to

           read the Quran in Arabic. In August the mayor of Gorontalo, the capital of Gorontalo

           Province on the island of Sulawesi, delayed the inauguration of a subdistrict official

           because of his inability to read the Quran with sufficient fluency to satisfy local

           regulations.” Policies like these have sprung up across Indonesia but the central

           government in Jakarta has done little to strike them down or block their enforcement.

           [Source: June, 2013. United States Department of State. Bureau of Democracy, Human

           Rights, and Labor. “2012 Human Rights Report: Indonesia.” 2012 Country Reports on

           Human Rights Practices.]

     108.           The truly alarming document is the U.S. government’s report on religious

           freedom in Indonesia (it is titled the 2012 Report but it was released in the summer of

           2013). This report documents a litany of violence and discrimination against religious

           minorities. The key findings of the report were that the persecution of religious minorities

           was rampant and that the government did not enforce laws that would protect vulnerable

           groups and religions. The first page of the report states: “There were reports that police

           collaborated with hardline groups against members of sects they deemed to be ‘deviant’

           when enforcing laws and regulations that limit religious freedom. In some instances,

           government security forces failed to act when radical non-state actors attacked minority

           sects.

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     109.          There were reports that government officials and police witnessed the coerced

           conversion of dozens of Shia followers to Sunni Islam in East Java. Local governments

           continued to block construction of houses of worship by minority groups within their

           communities and the national government failed to enforce two Supreme Court decisions

           in favor of construction permits for two Christian churches. During the year, a number of

           regional governments enforced decrees limiting or banning the free practice of Ahmadi

           Muslims.” [Source: July 2013. United States Department of State. Bureau of Democracy,

           Human Rights, and Labor. “Indonesia: International Religious Freedom Report, 2012.”]

     110.          The 2013 religious freedom report on Indonesia tracked a broad range of actions

           and practices of intolerance. The government itself was often directly involved in

           harassing minority religious groups and individuals. The report states: “Although these

           groups have the right to establish a place of worship, obtain identity cards, and register

           marriages and births, they sometimes face administrative difficulties in doing so. In some

           cases, these challenges make it more difficult for individuals to find jobs or enroll

           children in school.” The government collaborated with radical Islamic groups to

           persecute the minority Ahmadiyya religious community. The report notes: “Hardline

           groups and a government-appointed body, the Coordinating Board for Monitoring

           Mystical Beliefs in Society, support an outright ban of the group. The minister for

           religious affairs and the attorney general also publicly support a ban on the Ahmadiyya

           community. A number of provincial and local laws further restrict practice by Ahmadi

           Muslims.”

     111.          The report also emphasized how Indonesia’s draconian blasphemy law is used to

           attack religious minorities. It states that “the Constitutional Court upheld the 1965

           Blasphemy Law, holding that the government maintains the power to impose limitations

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           on religious freedoms based upon security considerations. The law provides for a

           maximum sentence of five years’ imprisonment for blasphemy.” The report adds that

           “NGOs reported an increase in the government’s application of the blasphemy law.” This

           law is never used against majority Muslims. Meanwhile, a special law exists to make sure

           no child can be converted to a minority religion. According to the 2013 U.S. religious

           freedom report: “The Child Protection Act of 2002 makes conversion of minors to a

           religion other than their own through ‘tricks’ and/or ‘lies,’ terms that can be applied

           loosely, a crime punishable by up to five years in prison.” To put this in perspective, a

           high government official in the Central Bank who used millions to bribe over thirty

           members of Parliament to get a promotion was given only three years in jail (and the

           handful of parliamentarians convicted got even shorter sentences).

     112.              The 2013 report refers to multiple indicators of a deteriorating climate for

           religious freedom in Indonesia. Among the key findings are:

           Many local governments attempt to implement radical Sharia-inspired regulations. “A

           2011 media report indicated that there are more than 150 Sharia-inspired laws in the

           country.” The report continues: “Some local regulations also mandate that elected

           Muslim officials, students, civil servants, and individuals seeking marriage licenses be

           able to read the Quran in Arabic.” This policies signify a growing Islamicization of

           Indonesian politics and society.

                   •   “Due to inaction the government sometimes failed to prevent violence, abuse, and
                       discrimination against individuals based on their religious belief.
                       Nongovernmental organizations (NGOs) reported on continuing government
                       abuses of religious freedom during the year. The Setara Institute, an Indonesia-
                       based NGO that conducts advocacy and research on religious and political
                       freedom, reported 145 cases of government abuses of religious freedom during
                       the year, an increase of 40 cases over 2011. Both Setara and the Wahid Institute,
                       another Indonesia-based NGO that advocates for and carries out research related

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                       to good governance and religious harmony, noted inaction by security forces was
                       the most common category of abuse by state actors. Both institutions also agreed
                       government sealing of houses of worship was the second most common category
                       of abuse by state actors.”

                   •   Rather than prevent the extremist Islamic Defenders Front (FPI) from violently
                       attacking religious minorities, the government has actually collaborated with
                       them. The report states: “Police appeared to act in concert with the FPI and other
                       hardline groups on other occasions. On May 4, Canadian author Irshad Manji
                       attempted to hold a discussion of her book Allah, Liberty, and Love in Jakarta.
                       Following public statements by the FPI condemning the work and attacking Manji
                       for being a lesbian, police and FPI broke up the event. A subsequent discussion
                       was dispersed by Sunni hardliners in Yogyakarta, as police stood by.”

                   •   The report also states: “The government failed to take sufficient action with
                       regard to continued discrimination, restrictions, and occasional attacks toward
                       religious minorities.” It continues: “Militant groups and mobs throughout the
                       country attacked, vandalized, forced to close, or prevented from being established
                       several houses of worship, religious schools, and homes of Muslim groups
                       regarded as unorthodox. In several cases, police temporarily detained members of
                       “deviant groups” who were victims of attacks, ostensibly to ensure their safety,
                       but did not arrest attackers.”

                   •   Violence and abuse did not come just from the government, but also from societal
                       groups and actors. the report notes: “There were reports of societal abuses or
                       discrimination based on religious affiliation, belief, or practice. Many incidents of
                       societal violence occurred along sectarian lines, but were the result of both
                       religious and secular causes. Through coordinated attacks, intimidation, coercion
                       of -- and sometimes in collaboration with -- government actors, religious hardline
                       groups such as FPI, as well as local branches of the MUI, often succeeded in
                       restricting the rights of religious minorities. Mobs of people not clearly affiliated
                       with any group also engaged in acts of violence and discrimination on the basis of
                       religion. Between January and June, the Setara Institute reported 111 cases in
                       which non-state actors abused or discriminated against religious minority groups.
                       According to the report, the two provinces most affected by religious communal
                       violence were West Java and East Java. Hardline groups, including the FPI,
                       continued their attacks against Ahmadi Muslims and individuals or groups they
                       deemed deviant.

     113.              The 2014 U.S. State Department report on religious freedom in Indonesia (titled

           the “2013 Report”) paints an equally dire picture of rising intolerance in Indonesia. The
                                                   55
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           report states that the government generally “failed to prevent violence, abuse, and

           discrimination against individuals based on their religious belief.” It adds: “Government

           officials, including at the local level, discriminated against followers of religious groups

           that constituted a local minority due to pressure from other groups. Cabinet officials

           made public statements calling for conversion of adherents of certain religious groups

           and offering support to violent organizations. There were reports the minister of religious

           affairs witnessed the controversial conversion of members of the Ahmadiyya Muslim

           community.” [Source: July 28, 2014. United States Department of State. Bureau of

           Democracy, Human Rights, and Labor. “Indonesia: International Religious Freedom

           Report, 2013.”

           <state.gov/j/drl/rls/irf/religiousfreedom/index.htm?year=2013&dlid=222133>].

     114.          It is irrefutable that religious minorities are violently persecuted in Indonesia. As

           the U.S. government’s own report states, “there were reports of societal abuses and

           discrimination based on religious affiliation, belief, or practice. These abuses

           occasionally included incidents of communal violence and were more common in

           provinces and districts that had enacted discriminatory regulations.” Quoting data from

           the Indonesia’s Setara Institute, the 2014 report notes that it documented 70 cases of

           “government abuses of religious freedom” during a six-month period, with “inaction by

           security forces was the most common category of abuse by state actors during that

           period, while government closing of houses of worship was the second most common

           category of abuse by state actors.” This shows that the persecution is not just within civil

           society, but also perpetrated by the government, which under the Constitution is supposed

           to defend religious freedom and uphold tolerance and pluralism. The Indonesian police

           “failed to prevent or to sufficiently investigate instances in which militant groups and

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           mobs throughout the country attacked, vandalized, forced to close, or prevented the

           establishment of houses of worship, religious schools, and homes of Muslim groups

           regarded as unorthodox.”

     115.          These failures to defend Indonesians holding minority religious beliefs extend to

           the judiciary. The 2014 U.S. report states: “Sentences in cases of violence stemming from

           religious intolerance often were not commensurate with the crimes, and religious freedom

           advocates voiced concern that light sentences emboldened violent hardliners, as they

           viewed such sentences as tacit government approval of their actions.”

     116.          Media quoted Mr. Hendardi, the executive director of Setara, saying that

           conditions are deteriorating rather than improving for religious minorities in Indonesia:

           “In terms of religious freedom, there has not been a single significant improvement. In

           fact there were many setbacks.” He added that it is “as if our Constitution is impotent.”

           [Source: July 31, 2014. Jakarta Globe. “U.S. State Department Criticizes Indonesia for

           Intolerance ‘Limited Rights.’” By Josua Gantan.]

     117.          The U.S. government’s own annual reporting on religious freedom in Indonesia

           supports the view that intolerance is rising, minority groups face widespread persecution

           and violence, and the Indonesian government does not defend religious minorities. The

           failures are not just by one part of the government, but instead across the board – the

           executive branch, the legislature, the police, and the courts consistently side with the

           attackers rather than with the persecuted.

     118.          Indonesian media reported at the end of 2014 that acts of religious intolerance

           against Christians had nearly doubled compared to 2013. Consistent with patterns seen in

           previous years, the police actually participated in the intolerance rather than protect

           religious minorities. The report noted that “law enforcements officials, particularly the

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           police, were deemed the perpetrators in many of these cases, whether through active

           participation or negligence.” [Source: December 23, 2014. Jakarta Globe. “Komnas

           HAM: Sharp Increase in Reports of Religious Intolerance.” By Fatima Bona.

           <http://thejakartaglobe.beritasatu.com/news/komnas-ham-sharp-increase-reports-

           religious-intolerance/>].

     119.          An editorial by the respected newspaper, the Jakarta Globe, noted that “there

           have been no arrests or indictments” for any of these attacks. The editorial added: “That

           such serious offenses go unpunished — and are often aided by the police, who either

           back the hardliners mounting the attacks or do little to prevent them — is a travesty in a

           nation that continues to impose draconian blasphemy charges for the slightest affronts to

           Islam.” No case is more egregious than that of GKI Yasmin in Bogor. The congregation

           “has been locked out of its church since 2008, despite two Supreme Court rulings

           ordering the municipal authorities to allow the congregation back into the church to

           worship.” [Source: December 24, 2014. Jakarta Globe. “Editorial: Who Will Speak Up

           for the Persecuted?” <http://thejakartaglobe.beritasatu.com/opinion/editorial-will-speak-

           persecuted/>].

     120.          Religious intolerance has continued despite the election in July 2014 of President

           Joko Widodo, who made campaign promises to reduce intolerance and improve human

           rights in Indonesia. Although many minorities in Indonesia hope that the new president

           elected in 2014 would reduce intolerance, analysts remain skeptical. Tobias Basuki, from

           think-tank the Center for Strategic and International Studies, stated: “With the focus on

           economic development, ideas that are in the long term important, like religious freedom

           and human rights, will be put on the back burner by the Jokowi government.” [Source:



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           February 4, 2015. Jakarta Globe. “Indonesia’s Minorities Hope for a Safer Future Under

           Jokowi” By Jarni Blakkarly.]

     121.          By July of 2015, evidence released by Indonesia’s National Commission on

           Human Rights (Komnas HAM) showed that this skepticism was warranted. Commenting

           on Indonesia’s consistent and worsening pattern of religious intolerance, M. Imdadun

           Rahmat, a Komnas HAM commissioner, stated: “These cases present a serious problem.

           When they happen year after year, they aren’t just individual events. They indicate a

           greater problem across the entire country.” Imdadun added: “It means there is a problem

           within the system, in relation to the state’s minimum obligation to protect religious

           freedom in Indonesia.” The National Commission on Human Rights admitted that the

           persecution of religious minorities is far worse even than their data suggested. “The cases

           that are included in the report, especially those on the closure of places of worship, are

           just the tip of the iceberg,” Imdadun said. “This only represents a small section of

           religious issues in Indonesia today. And there are new complaints coming in all the time.”

           The Jakarta Globe article reporting on these trends also stated: “According to a 2015

           study by the Pew Research Center on global trends in religious restrictions and hostilities,

           Indonesia attained the dubious honor of having a social hostilities index figure of 7.8 out

           of 10, the highest in Southeast Asia.”

     122.          Ismail Hasani, a researcher with the Setara Institute, stated: “We record

           approximately 200 events [relating to violations of religious freedom] every year,” and

           there is no indication of improvement. “The situation is still the same. It’s not good.” He

           also stated that the data showed that the problem is expanding and is not limited to

           particular regions of Indonesia. “There are intolerant groups that are increasingly

           widespread in both Jakarta and beyond, such as the Islamic Defenders Front [FPI], the

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           Islamic People’s Front [FUI], and others.” He added, “These intolerant groups are like a

           virus. They influence the public to also become intolerant.” [Source: July 5, 2015. Jakarta

           Globe. “Komnas HAM Finds Religious Freedom Still Under Threat.” By Andreyka

           Natalegawa].

     123.          Also in July 2015, Indonesian media reported that the police claimed that it was

           their own fear radical Islamist groups, and a lack of political cover, that was behind their

           failure to reign in Muslim extremists who attacked and intimidated Indonesia’s religious

           minorities. According to Senior Commander John Hendri, “the truth is that police officers

           who see, hear or experience such incidents can file a report [for subsequent

           investigation], but tend to be scared to because there’s no reward or guarantee of safety

           for themselves.” He added that only with new regulations could he hope that “officers

           won’t be scared anymore.” The report also noted that some of the most intolerant and

           violent groups, such as the Islamic Defenders Front (FPI), “have long been championed

           by the police as providing a community policing service.” The report continued: “Leaked

           US diplomatic cables dating from 2006 allege that the FPI, responsible for attacks on

           minority Islamic communities and Christians, receives funding from the police and acts

           as the force’s ‘attack dog.’ Senior officials at the Jakarta Police and National Police

           levels have for years defended the FPI as a ‘partner’ to the police and attempted to

           downplay its litany of transgressions.” [Source: July 5, 2015. Jakarta Globe. “Police Say

           They’re Too Scared to Fight Religious Hardliners.” By Erwin Sihombing].

     124.          At the end of 2016, the danger for Indonesia’s religious minorities reached a scale

           not seen since the massive violence of 1998. Indonesia was rocked by the largest mass

           demonstrations the country had ever witnessed. The crowds, numbering in the millions,

           were all conservative Muslims who listened to shocking speeches calling for Muslims to

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           rise up against blasphemous Christians. On the stage, and now in the mainstream, were

           preachers and extremist Islamic figures who had, until this time, been more at the

           margins of the rising Islamic fundamentalist movement in Indonesia and of society in

           general.

     125.          Media reporting on these alarming developments noted that religious freedom

           watchdogs like the Wahid Foundation were warning that “the growing interfaith

           disharmony across Indonesia would lead to radicalism” if the government did not

           “immediately introduce firm and long-term solutions for the problem.” Yenny Wahid, the

           foundation’s executive director, stated that “a lot of religious leaders preach and

           emphasize violence in jihad.” The government has not introduced firm or long-term

           solutions, and therefore the threat Wahid warned of is alive and growing in urgency.

           According to the Indonesian media, “Indonesia has seen escalating religious tension after

           millions of Muslims took to the streets of Jakarta.” [Source: December 23, 2016. Jakarta

           Post. “Firm Action Needed to Curb Growing Intolerance: Wahid Foundation.”].

     126.          2016 and 2017 have seen an alarming rise in intolerance toward religious

           minorities. Even superficial aspects of minority religions have been targeted by an

           increasingly intolerant Islamic majority. In 1981, the MUI, Indonesia’s highest Islamic

           council, issued a fatwa that prohibited Indonesian Muslims from participating in the

           Christian rituals of Christmas, such as prayer or masses. But they explicitly said it was

           permissible for Muslims to say “Merry Christmas” to Christians. This was the official

           policy of the MUI until 2016 when it declared that Muslims could not say “Merry

           Christmas.” At some places of employment, such as in stores or restaurants, employees

           were donning festive Santa hats or reindeer horns during the Christmas season. Claiming

           that they were acting in the interest of religious harmony, the MUI announced a ruling

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           that Muslim employees were forbidden from participating in Christmas even in this

           superficial way. The Imams were unswayed by criticisms pointing out that neither Santa

           Claus nor reindeers had anything to do with Christianity. [Source: December 20, 2016.

           Jakarta Post. “Politics of Muslim Identity over Santa Outfits.” By Azis Anwar

           Fachrudin.]

     127.          Hardline vigilante groups began “sweeping” operations at stores and malls to

           enforce these new Islamic prohibitions against anything related to Christmas. Media

           reported that they began showing up at business establishments “to inform them about a

           recent MUI fatwa banning Muslims from wearing Christmas paraphernalia. In Surabaya,

           East Java, the local police decided to escort members of the Islam Defenders Front (FPI)

           when they visited local malls to publicize the MUI’s edict. The police said the move was

           necessary to prevent possible public disturbances.” But many in minority communities

           and among human rights activists saw this as “the police of bowing down to the MUI and

           the FPI.” According to those whose businesses were visited by the vigilante groups

           accompanied by police, it felt like the police were supporting the intimidating actions by

           extreme Islamists. [Source: December 21, 2016. Jakarta Post. “Indonesian Police Assert

           Control over MUI Fatwas.” By Marguerite Afra Sapiie.]

     128.          Indonesia’s police were supposed to be enforcing the criminal code, and not

           escorting roving mobs enforcing religious edicts. “Indonesia is facing a growing trend of

           discriminating against the country’s minorities and marginalized communities,” said

           Indonesia’s Press Council chairman, Yosep Adi Prasetyo. He saw a lack of law

           enforcement as exacerbating the issue. Choosing his words carefully to avoid a direct

           backlash against himself or his family, Prasetyo added, “Law enforcers accommodate the

           interests of certain groups that commit violence. This allows them to impose their will on

                                                   62
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           other groups in society.” [Source: December 22, 2016. Jakarta Post. “Indonesians

           Increasingly Blame the Weak: Scholar.” By Margareth S. Aritonang.] The failure of the

           government to deploy the police to uphold the law and defend religious minorities has

           carried devastating consequences. “The country has allowed many houses of worship to

           be demolished, religious rituals to be stopped and hatred to be excessively disseminated,”

           said University of Indonesia law professor, Sulistyowati Irianto. [Source: December 23,

           2016. Jakarta Post. “Indonesian Scholars Stand up against Growing Intolerance.”]

     129.          Hardline Islamicists seized on a statement Mr. Ahok, who was running for

           governor of Jakarta, made to potential voters in September 2016. He had received reports

           that Muslims were being told by religious figures and by competing candidates that their

           religion forbid them from voting for a non-Muslim. Mr. Ahok urged them not to be

           fooled by this information and to vote for whomever they thought was the best candidate.

           A broad swath of the Islamic community interpreted this innocuous statement as

           blasphemous against Islam. Mr. Ahok apologized, but it was not enough. In the middle of

           the campaign for the governorship, he was arrested and formally charged with the crime

           of blasphemy. “The legislation was rarely used during the 32-year rule of strongman

           Suharto,” according to media sources, “but in recent years it has been exploited to

           persecute minorities, rights groups say.” [Source: April 20, 2017. Aljazeera. “‘Light’

           Sentence Sought for Ahok over Alleged Blasphemy.”]

     130.          This triggered a series of mass demonstrations in Jakarta, the largest in the

           country’s history, demanding Mr. Ahok be convicted, and threatening to punish him

           themselves if the court was too lenient. This use of religious laws and sentiments,

           accompanied by a show of force by crowds of millions, were all directed at ensuring a

           Christian could not win the vote for an important high office like governor of Jakarta. On

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           May 9, 2017, Mr. Ahok was found guilty of blasphemy and sentenced to two years in

           prison. This persecution of such a prominent figure, based on his Christian faith, made

           headlines around the world. [Source: May 9, 2017. Jakarta Post. “Ahok Guilty of

           Blasphemy, Sentenced to Two Years.” By Callistasia Anggun Wijaya].

     131.          The campaign by hardline Islamists did not stop there. Muslim voters faced

           horrifying threats that their loved ones would not be buried according to Islamic

           traditions. According to media reports, “In an unprecedented move against Ahok and his

           supporters, a number of Muslim clerics have launched a campaign to deny proper burial

           rites to deceased Muslims who had voted for Ahok in the election.” Mosques erected

           large banners at their entrance setting forth these threats. [Source: March 27, 2017.

           Jakarta Post. “Jokowi Accused of Promoting Secularism,” by Safrin La Batu.]

     132.          Observers who have closely followed the rising tide of intolerance in Indonesia

           noted that the Ahok election provided a focal point for racism and bigotry. “A changing

           worldview, from inclusivity to religious exclusivity, has been going on for a while. In this

           election, it was amplified and became the most influential sentiment,” stated Alissa

           Qotrunnada Munawaroh, daughter of late President Abdurrahman Wahid and founder of

           the Gusdurian Network, which tries to promote religious pluralism in the country. The

           campaign of intimidation and intolerance paid off on election day. “Pre-election polls

           showed that 76% of voters were actually satisfied with Ahok’s performance in running

           the city.” But this did not matter once the campaign of racism and religious intolerance

           was unleashed over a matter of months. Mr. Ahok lost to his Muslim opponent by a

           landslide. [Source: April 19, 2017. Time Magazine. “Conservative Islam Has Scored a

           Disquieting Victory in Indonesia’s Normally Secular Politics.” By Yenni Kwok.]



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     133.          A study by Sana Jaffrey, a doctoral candidate at the University of Chicago,

           provides abundant evidence that links the rising intolerance in Indonesia to violence –

           including death. Following the mass Islamic demonstrations focused on blocking the

           election of Mr. Ahok, “a series of mob attacks against religious minorities in Bandung,

           Yogyakarta and Surabaya have furthered fears about a mounting Islamist challenge to

           [President] Jokowi’s government.” Jaffrey makes an important point about vigilantism,

           which is the most common form of attack against religious and ethnic minorities since

           1998:

                   “Between 2005 and 2014, The National Violence Monitoring System (NVMS)
                   database recorded 33,627 victims of vigilante violence in 16 provinces that
                   together represent 50 per cent of Indonesia’s population. This estimate includes
                   the 1,659 people who died. The rest sustained serious injuries. To put these
                   numbers in perspective, consider that communal riots and political clashes during
                   the same period resulted in 10,433 victims, including 637 fatalities. Although
                   large-scale violence tends to grab more national headlines, the cumulative impact
                   of vigilantism is three times higher.”

     134.          Jaffrey goes on to note that “the frequency of [vigilante] mob attacks actually

           registered a 25 per cent increase between 2007 and 2014.” She adds that the targets of

           vigilantism have increasingly shifted to minorities, almost all of whom are targets of the

           social agenda of hardline Islamic groups. Jaffrey writes: “These violations include

           fornication, adultery, homosexual relationships and the sale of food during the fasting

           month. There is also a marked increase in mob raids to restrict the activities of minority

           religious communities and suspected leftist political groups [whose purported atheism is

           viewed as an affront to Islam].” She points out that this rising mob-vigilante violence has

           occurred despite major improvements in police capacity. Indeed, they have been most

           prevalent in urban areas where policing has been most upgraded in the past two decades.

           But cities are also the areas where Islamic extremists form their roaming bands of
                                                    65
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           enforcers. [Source: January 12, 2017. New Mandala. “Justice by Numbers.” By Sana

           Jaffrey.]

     135.          During my research visit to Indonesia in February 2017, I was invited to meet

           with U.S. Ambassador Joseph Donovan and Mark D. Clark, the head of the embassy’s

           political section. The focus of our two-hour discussion revolved exclusively around

           assessing the rapidly changing nature of political Islam in Indonesia, and the serious

           threats these trends posed for the country’s stability, and especially for vulnerable

           religious minorities. The U.S. government itself is tracking these developments carefully

           to assess the proportions of the danger, and whether the trends can be slowed or reversed.

           All of the indicators available to political observers both inside Indonesia and abroad are

           that the rising intolerance is a deep current in the society and political structure that poses

           very real dangers to Christians.



     Conclusions regarding religious intolerance and the risks faced by Christian Indonesians.

     136.          My objective conclusion is that radical Islam has gained significantly in strength

           in Indonesia since 2008, but that especially since 2012 the level of violence and

           intolerance directed at religious minorities has increased at a shocking rate. This

           movement is increasingly displacing the more tolerant version of Islam that existed in

           Indonesia for decades. Despite words and gestures from the government calling for

           harmony, the reality is that there is increasing intolerance, increasing violence, and

           increasing danger for minorities across the archipelago.

     137.          The evidence is clear that this climate of persecution based on religion has been

           gaining momentum. The Indonesian government is unwilling or unable to take firm and

           decisive action to punish militant Muslims who violently attack religious minorities

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           across the country, and statements by officials from the cabinet level downward enable

           the attackers and provide them cover when they commit violent acts.

     138.          This deterioration in conditions has a strong and negative impact on Indonesia’s

           non-Islamic citizens, but especially the Christian minority. The Islamic movement to

           impose exclusionary shari’a law has grown stronger and more radical, and these groups

           have consistently engaged in violent behavior against religious minorities. At the end of

           2016 and the beginning of 2017, Indonesia’s political stability was rocked by the largest

           mass demonstrations in the country’s history. These demonstrations were organized by

           extremist Islamic groups and figures, and were marked by rhetoric inciting hatred against

           religious minorities – especially Christians. The risks of persecution that these

           deteriorating country conditions pose to Indonesian Christians is alarmingly high and

           increasing.

     139.          Based on the above statements, and particularly the fact that country conditions

           are deteriorating in Indonesia for religious, it is my considered opinion that Indonesian

           Christians face a dangerously high probability of persecution in the form of intimidation,

           physical harm, and threats to their personal safety and well-being. Religious intolerance

           in Indonesia is especially harsh against protestant evangelical Christians, who engage is

           proselytizing and converting fellow citizens – which is a central tenet and commitment of

           those of the evangelical faith. The dangers faced by evangelical Christians are

           particularly acute.

     140.          Accordingly, it is my opinion that Christian Indonesians facing deportation back

           to Indonesia face an extremely high probability of persecution on account of their

           religious beliefs, and that their fears are objectively reasonable in light of negative and



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           worsening country conditions, and a clear history of organized and systemic violence

           against religious minorities.

     141.          The opinions expressed in this affidavit are based are supported by over three

           decades of research and expertise on Indonesia, but also on the sources listed in the

           paragraphs above and chronologically at the end of this affidavit documenting the

           persecution described herein.




Signed under the pains and penalties of perjury this 12th day of October, 2017.




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                                                 Jeffrey A. Winters, Ph.D.




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